EXHIBIT 1
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                 1                   IN THE UNITED STATES DISTRICT COURT

                 2                   IN AND FOR THE DISTRICT OF DELAWARE

                 3                                        - - -

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                       CYTIVA SWEDEN AB and GLOBAL              :   CIVIL ACTION
                 5     LIE SCIENCES SOLUTIONS USA               :
                       LLC,                                     :
                 6                                              :
                                         Plaintiffs,            :
                 7                                              :
                            vs.                                 :
                 8                                              :
                       BIO-RAD LABORATORIES, INC.,              :
                 9                                              :
                                         Defendant.             :   NO. 18-1899-CFC-SRF
                 10

                 11                                       - - -

                 12                                     Wilmington, Delaware
                                                        Wednesday, September 2, 2020
                 13                                     2:00 o'clock, p.m.
                                                        ***Telephone conference
                 14

                 15                                      - - -

                 16   BEFORE:   HONORABLE SHERRY R. FALLON, U.S. MAGISTRATE JUDGE

                 17                                    - - -

                 18   APPEARANCES:

                 19                  SHAW KELLER LLP
                                     BY: JOHN W. SHAW, ESQ.
                 20

                 21                            -and-

                 22

                 23

                 24                                                   Valerie J. Gunning
                                                                      Official Court Reporter
                 25




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  1   APPEARANCES (Continued):                                                                                                       4

  2
               ARNOLD & PORTER KAYE SCHOLER LLP                            1   counsel, starting with Delaware counsel for the plaintiff
  3               BY: AMY DeWITT, ESQ. and
                 JENNIFER SKLENAR, ESQ.                                    2   and then plaintiffs' counsel, and then the same for
  4              (Washington, D.C.)
                                                                           3   defendant.
  5
                         -and-                                             4                Who is on the line for the plaintiffs?
  6
                                                                           5                MR. SHAW: Good afternoon, Your Honor. This is
  7               ARNOLD & PORTER KAYE SCHOLER LLP
                  BY: RYAN N. NISHIMOTO, ESQ.                              6   John Shaw for the plaintiffs, and joining me from Arnold &
  8                  (San Francisco, California)
                                                                           7   Porter are Jennifer Sklenar, Amy DeWitt, Brian Nishimoto,
  9
                         -and-                                             8   and Michael Sebba.
 10
                                                                           9                THE COURT: Very good. Thank you.
 11               ARNOLD & PORTER KAYE SCHOLER LLP                        10                And now for Bio-Rad, who is on the line?
                  BY: MICHAEL J. SEBBA, ESQ.
 12                  (New York, New York)                                 11                MR. SILVERSTEIN: Good afternoon, Your Honor.
 13                                                                       12   This is Alan Silverstein from Potter Anderson.
                     Counsel for Plaintiffs
 14                                                                       13                With me on the line is David Bilsker and Felipe

 15                                                                       14   Corredor from Quinn Emanuel.
               POTTER, ANDERSON & CORROON LLP
 16            BY: ALAN R. SILVERSTEIN, ESQ.                              15                THE COURT: Very good. And do we have anyone

 17                                                                       16   else observing or listening to the proceedings who have not
                    -and-
 18                                                                       17   yet identified themselves for our transcript?

                                                                          18                Hearing none, we will begin.
 19            QUINN EMANUEL URQUHART & SULLIVAN, LLP
                  BY: DAVID BILSKER, ESQ. and                             19                This is Bio-Rad's motion to compel. There are
 20                  FELIPE CORREDOR, ESQ.
                 (San Francisco, California)                              20   three different issues that were raised in the motion. I
 21
                                                                          21   have read the motion, the response and the exhibits, and I
 22                  Counsel for Defendant
                                                                          22   am ready to proceed.
 23
                    - - -                                                 23                We'll start with the first issue, the
 24
                                                                          24   supplemental interrogatory that was made by the plaintiffs
 25
                                                                          25   with respect to conception and reduction to practice,



                                                            3                                                                        5



  1                    P R O C E E D I N G S                               1   the supplemental response to Bio-Rad's Interrogatory Number

  2                                                                        2   1.

  3               (The following telephone conference was held             3                Who will take the lead for Bio-Rad?

  4   beginning at 2:00 p.m.)                                              4                MR. BILSKER: It's David Bilsker, Your Honor. I

  5                                                                        5   will.

  6               THE COURT: Good afternoon, everyone. This is             6                THE COURT: All right. Before you begin,

  7   Magistrate Judge Sherry Fallon.                                      7   Mr. Bilsker, you're sounding a bit like you're in an echo,

  8               This is the time I have set aside for a                  8   so maybe you can move back.

  9   discovery dispute teleconference in Cytiva Sweden and Global         9                MR. BILSKER: Is this better?

 10   Life Sciences Solutions versus Bio-Rad Laboratories.                10                THE COURT: That's better.

 11               Let me first find out, do we have a court               11                MR. BILSKER: Okay.

 12   stenographer?                                                       12                THE COURT: And I would instruct that anyone who

 13               MS. GUNNING: Yes, Your Honor. It's Valerie              13   is not speaking to please put your microphone on mute so

 14   Gunning.                                                            14   that there is no background noise or interference. So with

 15               THE COURT: Thank you, Ms. Gunning.                      15   that, you may proceed.

 16               And do I have my law clerk, Ms. Polito?                 16                MR. BILSKER: So, Your Honor, this is a unique

 17               MS. POLITO: Good afternoon, Your Honor. I'm on          17   situation, and I don't think it's covered by any of the

 18   the line.                                                           18   cases that plaintiff is relying on. And it may make more

 19               THE COURT: Okay. Do we have a fall intern               19   sense for me to actually address their cases because they're

 20   joining us? Do you know, Ms. Polito, if we'll be joined by          20   really factually distinguishable.

 21   our intern or probably not?                                         21                So we have the situation where we have an

 22               MS. POLITO: I don't think she's on the line             22   interrogatory outstanding for almost a year or more than a

 23   today.                                                              23   year. We finally got a response to it. We created a

 24               THE COURT: All right. Very well.                        24   litigation strategy. We went forward on that strategy. We

 25               Then let me start with the appearances of               25   essentially completed all of our depositions and then seven

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 1    days before the close of fact discovery, after all of those               1               Now, plaintiff actually argued that it was
 2    depositions, we get a completely changed response.                        2   disclosed all along and they added more information after
 3                So, and really, the justification for it, I'm                 3   the defendant supplied the source code, which the Court
 4    not sure exactly what plaintiffs are speaking of because                  4   actually agreed with. So that's a situation, as I said
 5    they say the justification was created by argument that we                5   before, where new facts have come to light and you add in
 6    made, and I'm not aware of any arguments that we made with                6   more information based on those facts.
 7    respect to conception and reduction to practice, so that                  7               The plaintiff in that situation did not have the
 8    justification really does not exist.                                      8   source code, and after they received the source code, they
 9                As to the other justification that they come up               9   supplemented their, you know, their infringement contentions
10    with, they say it's based on what happened during the                   10    to include that additional source code and more specifically
11    depositions, but essentially, what they are asking for is a             11    identify the product.
12    do-over. They did not like -- apparently, they did not like             12                And, in fact, in that case, really what the
13    what happened during the depositions and they decided a                 13    parties were arguing about was on a 30(b)(6) deposition
14    month after, apparently a month after the 30(b)(6)                      14    which had not yet occurred, would that deposition include
15    deposition that they, I guess they think changed everything,            15    this new, this one new product? That's not the situation we
16    that they were going to change their theory.                            16    have here. All the depositions are over and their change in
17                And, again, this is not, this is not the kind of            17    theory came after we had taken all of our depositions. And
18    situation that Rule 26 really contemplates. Rule 26, and                18    it's not just one deposition that we took that's relevant.
19    when you look at all of their cases, deals with situations              19    There were at least four or five depositions that related to
20    where essentially a new fact, a fact has arisen that makes a            20    conception. There was Matt Souderman, Eva Harland, Mats
21    response not correct.                                                   21    Lundkvist, who was the inventor and the 30(b)(6), and there
22                So, for instance, I don't know. You know, if it             22    were some depositions that we decided not to take after the
23    was a malpractice case and somebody said that people 1                  23    testimony that we got.
24    through 6 were in the operating room and they find out after            24                So this is not, this is not the situation which
25    looking at charts that, in fact, 1 through 6 were not in the            25    is existing in all the cases that they rely on, which is


                                                             7                                                                            9


 1    operating room, only 1 through 5 were, then they can correct              1   some new fact. And if it's going to be prejudicial to us,
 2    that fact. And that's essentially what happened with                      2   absolutely. We have a litigation strategy and theory that
 3    respect to all of these cases that they rely on. There were               3   we focused on, including not taking some of the depositions,
 4    newly discovered facts. But that's not the situation here.                4   and it's, again, it's not just one, it's multiple
 5    All the facts were in plaintiffs' possession. You had an                  5   depositions.
 6    interrogatory outstanding for over a year. This is, you                   6               There's no explanation for why this occurred so
 7    know, a relatively standard question in many pieces of                    7   late in the process. Again, you know, this is, this is not
 8    patent litigation, what is your conception and reduction to               8   a fact. This is a legal theory. It's a contention-type
 9    practice date? That's something that, you know, we had to                 9   response which usually in Delaware occurs at the end of the
10    do the same thing.                                                      10    case because it gives the parties time to research all of
11                They served an interrogatory on us that was the             11    the facts and put together the facts with a legal theory to
12    same. We did an investigation. We talked to witnesses. We               12    come up with a response.
13    looked at our documents and we identified those dates and we            13                So, you know, basically, what I'm hearing is,
14    stuck with them.                                                        14    it's either one of two things. They just didn't do a good
15                They, on the other hand, are basically saying,              15    job when they, when they reviewed the facts and talked to
16    well, they did some investigation, but after, you know,                 16    the witnesses before, if they talked to them at all before
17    after Bio-Rad probed the theory that they put out, they                 17    coming up with a conception date or, worse, it's just they
18    didn't like it so much anymore, so it's okay for them to                18    want a do-over.
19    completely change everything at the end of discovery and go             19                The strategy didn't pan out well for them. Now
20    forward.                                                                20    they don't like it and they just want a change. And they
21                So, for example, if you look at the Webex case              21    are saying there's really no harm to Bio-Rad because we've
22    that they heavily rely on, in that case what the Court found            22    got 40 days here before, you know, the end of expert
23    was it was reasonable for the, and I believe it was, it was             23    discovery. We can fit things in. Our expert reports are
24    for the plaintiff to identify additional product that was               24    due very shortly.
25    charged with infringing.                                                25                They -- it was plaintiffs who really wanted to
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 1   push on a fast discovery schedule. When Covid hit and we               1   actually have to abide by the Pennypack factors when you
 2   were having some issues with respect to what the schedule              2   have sophisticated parties, and that's in one of the cases
 3   should be, we actually discussed extending discovery by a              3   that Cytiva, plaintiff, cited. That's in the Teva
 4   certain amount of time and we could not get plaintiff to               4   Pharmaceuticals case at *3 where they say, when you have
 5   agree to go past July 31st, and even with July 31st, we had            5   sophisticated parties represented by competent counsel,
 6   to agree that there would be no more written discovery                 6   courts have been less indulgent in their application of the
 7   submitted.                                                             7   Pennypack factors and more likely to exclude evidence
 8                So the discovery deadline is important and, in            8   without a strict showing of adherence to those factors.
 9   fact, it's plaintiffs who relied on that deadline very                 9              Certainly, I think this is a situation where we
10   heavily in saying, you know, it has to be -- everything has          10    have sophisticated parties and sophisticated counsel, and
11   to be done by this date, we're not going to allow any more           11    when you look at Pennypack and -- well, Pennypack was a
12   written discovery, although I do admit that they said if a           12    Civil Rights case from the 1970s under a -- I'm not even
13   couple of depositions have to go over because of scheduling,         13    sure if Rule 26 was the same at the same time. The case was
14   we can do -- we can do that.                                         14    published in '77. So I'm not even positive that the same,
15                But this is not going to be a single deposition         15    the same rule is in effect. But, again, according to courts
16   that would have to be redone. It would be many depositions.          16    in this district, you don't have to abide by those factors
17   It would be a total change in our theory in the way we               17    when you have sophisticated parties.
18   approach this issue.                                                 18               As far as the other Pennypack factors, I think
19                We already set ourselves -- we already planned          19    the first thing you have to look at is whether the harm is
20   our strategy. We, you know, identified our dates, presented          20    going to be, or the change is going to be harmless. That's
21   our evidence, and there's no reason that they should change.         21    what really is guiding everything and I don't think the
22   It's just, there's no new discovery of any facts. We made            22    change here is harmless.
23   no new arguments despite their, their indications to the             23               We created a strategy, and now based on that
24   Court otherwise, and if, in fact, something came up in a             24    strategy and them apparently thinking that their position is
25   deposition, those depositions started June 18th, and the             25    a loser, they want to change everything. So that is not


                                                          11                                                                        13


 1   last one was June 26th, and it wasn't until July 24th, I               1   harmless to us after having created that strategy, them
 2   believe, that we got the notice that they were changing the            2   getting to change. So that is one.
 3   response completely, which was one week before the close of            3              The prejudice certainly works in our favor.
 4   fact discovery.                                                        4   There is -- there very well may be a disruption of the
 5                So even when they proposed the issue about,               5   trial. We have expert reports starting in, I think they are
 6   well, you can take more depositions, the only way we could             6   due in two weeks. Is that correct, Mr. Corredor?
 7   take more depositions is by going past the discovery                   7              MR. CORREDOR: Yes. Next Friday.
 8   deadline, which is not really what happened in any of the              8              MR. BILSKER: So the expert reports are due next
 9   cases that they rely on.                                               9   Friday. Obviously, we would have to go forward with expert
10                So unless Your Honor has any further questions,         10    discovery depositions there. It's going to throw off that
11   I will end it there.                                                 11    schedule completely.
12                THE COURT: All right. A couple of questions.            12               As to the possibility of curing the prejudice, I
13                So you said in your papers, although I have not         13    don't think there is a way to cure the prejudice. Just by
14   heard it on the call, and naturally, you know, it's in your          14    allowing us to take more depositions doesn't cure the
15   papers and I've read your papers, but the Court has to be            15    prejudice when we embarked on a litigation strategy based on
16   guided by the Pennypack factors in considering whether to            16    what they said.
17   strike or to exclude the evidence.                                   17               So just allowing us to take depositions, it's
18                What other Pennypack factors other than the             18    kind of like showing -- you know, you're playing poker.
19   prejudice which you've described as, you know, requiring a           19    It's like one party shows their hand and then the other side
20   change in defendant's theory of the case, what other                 20    decides what they are going to do, and that's just not the
21   Pennypack factors are affected or weigh in favor of your             21    way it works.
22   client, Bio-Rad, in light of this change, move up by about a         22               You know, and one very good example of that is
23   year the dates of conception and reduction to practice?              23    when you're in the Patent Office and you do an interference
24                MR. BILSKER: Well, first, I do want to point            24    proceeding with this type of situation where both parties
25   out that in this circuit, courts have held that you do not           25    are alleging that they invented first. And the Patent
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 1    Office, where they do this all the time, they require both              1   documents along with hundreds of thousands of other
 2    parties to essentially submit sealed bids. You have to                  2   documents, but there's no way for us to go in there and
 3    submit your dates and evidence without the other side                   3   decide for them which documents are going to be used to
 4    seeing them. So there is no gamesmanship like is going on               4   support a theory of conception. I mean, that's kind of
 5    here. So I don't think there is a way to cure it.                       5   beyond, you know, beyond reason to say, here's a bunch of
 6                And then as to the explanation or failure to                6   documents. You figure out what our conception date is going
 7    disclose, I don't think there's any explanation at all. I               7   to be. And since you have the documents, there's no
 8    mean, what they said is, based on argument by Bio-Rad, so               8   prejudice in you doing that. I mean, that goes right to the
 9    that's what they say is Cytiva investigated based on                    9   RTC case that we cited.
10    Bio-Rad's arguments and deposition testimony as parties are           10                It's just not a reasonable position. You can't,
11    expected to do.                                                       11    you can't produce hundreds of thousands of documents to
12                Again, there's no argument. We didn't have any            12    people and say, you figure out what the conception and
13    opportunity to argue about conception or reduction to                 13    reduction to practice date is and which documents the
14    practice. We were just in discovery. So there's no                    14    plaintiff is going to use to support that.
15    argument that we made that would justify them changing their          15                We asked them very specifically which documents
16    position.                                                             16    are you going -- which documents are you going to use to
17                And as for the deposition testimony, that                 17    support it. There were hundreds to start out with, more
18    doesn't justify it either. These are all their witnesses.             18    than hundreds that appeared to relate to a prototype, and
19    They should have, they should have interviewed these                  19    they only relied on some small subset of that. And in their
20    witnesses before they came up with their date, which is               20    new response, they basically jettisoned the majority of
21    exactly what we did. We didn't just make them up and then             21    those original documents, and they go to whole different
22    hope for the best. You interview the witnesses, you look at           22    subsets.
23    the documents and you come up with a date.                            23                So it's like, it's like two different cases now.
24                So there's really no good explanation of that.            24    And, you know, if they are going to put on us that, oh,
25    I don't think it is plausible. I know it's not plausible              25    there's no prejudice because you had the documents, well,


                                                            15                                                                          17


 1    with respect to the argument. There was no argument. So                 1   they're their documents. How are we in a better position to
 2    that factor does not weigh in their favor.                              2   figure out what their conception and reduction to practice
 3                And then I think that the last factor, which is             3   date is based on a pile of documents they dump on us than
 4    bad faith, I kind of think that goes along with the prior               4   they are when they're their documents and they can interview
 5    one, which is their explanation is not an explanation at all            5   the witnesses to figure out what their conception date is
 6    if there was no argument, and the idea that they found out              6   going to be based on those documents.
 7    information at the deposition of their own witnesses who                7               Again, this is not like something that happened
 8    they prepared for the deposition.                                       8   spur of the moment. This case has been going on for six
 9                So they prepared fact witnesses for the                     9   years, and that interrogatory was out there for more than a
10    deposition. They certainly prepared the 30(b)(6) witness              10    year before they finally responded. So they had more than
11    for the deposition. Nothing changed before that. There's              11    ample time to look through those documents in their
12    not good faith there. It's only based on the fact that we             12    possession, talk to their witnesses about those documents,
13    apparently did too good a job during the deposition and blew          13    and come up with real dates and which documents would
14    up their theory that they wanted to change.                           14    support this.
15                So I think all of the factors weigh in our                15                To put it on us is crazy.
16    favor, Your Honor.                                                    16                THE COURT: All right. I will hear from
17                THE COURT: Just one other question before I               17    plaintiff now.
18    hear from plaintiff. Along with supplementing their                   18                MR. NISHIMOTO: Good afternoon, Your Honor.
19    response to Interrogatory No. 1, they provided a list of              19    This is Ryan Nishimoto from Arnold & Porter.
20    documents for I guess factual support of that theory, and is          20                THE COURT: Thank you.
21    it correct that these documents had been already produced in          21                MR. NISHIMOTO: And, Your Honor, I apologize.
22    discovery and defendants had them for several months,                 22    If I cut out, please do interrupt me. I'm dealing with
23    notwithstanding the express listing of them in support of             23    school kids in the area that are on Zoom, and my
24    the supplemental response?                                            24    understanding is they are now off of Zoom but it has
25                MR. BILSKER: Well, it is true that we had the             25    affected my bandwidth this morning. Hopefully, that won't
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 1   be an issue.                                                            1              It was important to us to make sure that we
 2                THE COURT: All right. We'll keep an eye on it.             2   offered Bio-Rad a chance to ameliorate any prejudice that
 3   Thank you.                                                              3   they allege, and this was during the fact discovery period,
 4                MR. NISHIMOTO: Let me start by addressing                  4   and at that time that we supplemented the interrogatory
 5   Mr. Bilsker's point that his observation that this issue is             5   response, there was seven weeks remaining until expert
 6   not covered by any of the cases that Bio-Rad found in his               6   reports were due.
 7   argument, which is not covered by the cases that Cytiva                 7              So the argument that today, as we sit here
 8   introduced through its brief. And I think that's important              8   today, there's less time, two weeks before the expert
 9   to keep in mind, that this is Bio-Rad's burden, and they are            9   reports are due doesn't fully capture the opportunity that
10   seeking to strike a supplemental discovery response that was          10    Bio-Rad had and what we offered to them by way of helping
11   provided within the fact discovery period in response to              11    hear any prejudice that they had been able to articulate.
12   information that came to light during the fact discovery              12               Now, what I heard today then on the question of
13   period, and yet Bio-Rad seems to be arguing that because              13    litigation strategy, we've heard a number of comments that
14   there's no case that allows them to do that, they                     14    Bio-Rad developed a litigation strategy, but there has been
15   nevertheless should be allowed to strike.                             15    no explanation of what that is. And it would concern me,
16                The observation also that parties change their           16    and I have not seen cases to this effect, that any party
17   positions based on discovery that comes to light is                   17    could say we've developed a litigation strategy, including
18   something that happened quite frequently in litigation, and           18    during the fact discovery period, and it forecloses the
19   here, I know Mr. Bilsker had pointed to several statements            19    other side from supplementing or correcting its Rule 26
20   that Cytiva had made in its brief that based upon the                 20    disclosures or its interrogatory responses based on an
21   information that came to light in discovery, this is why              21    unarticulated litigation strategy that the other side had
22   Cytiva gave its supplemental response.                                22    developed and was hoping to pursue, but is no longer able
23                Let me just provide an example. So, for                  23    to.
24   example, during the deposition of Mr. Lundkvist, who is one           24               And I inflect able to as a question because I
25   of the two named inventors, questioning came out as to                25    want to go back to the point that, again, these dates have


                                                            19                                                                       21


 1   whether the modules on what's called the P0 prototype were              1   been moved forward. This is not a situation that is
 2   moveable came to light during that deposition, and there                2   reflected in the case law where the patentee is trying to
 3   was some question as to whether, in fact, they are moveable,            3   get around prior art by moving dates earlier and a late
 4   and that is the key aspect of the invention in this case.               4   disclosure on an earlier conception or a late disclosure of
 5   And that's one example of something then that Cytiva went               5   an earlier reduction to practice. We agree, there are
 6   back to look into following that deposition, and based on               6   questions about the initial 2005 dates that were in our
 7   that has then moved the conception and reduction to practice            7   first supplemental response. That's why we have moved those
 8   date forward, and those dates then relate to a later                    8   dates forward.
 9   prototype, a P1 prototype, and, in fact, that prototype was             9              It would be unusual to me to be in a position
10   mentioned during, for example, the deposition of                      10    where the patentee in this case is precluded from arguing a
11   Mr. Lundkvist.                                                        11    later conception and reduction to practice date and instead
12                So I think it's important to contextualize, one,         12    be forced to argue an earlier conception and reduction to
13   that the relief that Bio-Rad is seeking here is not covered           13    practice date that is no longer what we believe accurately
14   by the case law. What they are seeking is to strike                   14    reflected in the evidence.
15   information that was supplemented during discovery, and this          15               THE COURT: All right. Thank you.
16   is not something that has been sprung on Bio-Rad. The                 16               Any rebuttal, Mr. Bilsker? Are you on mute,
17   information has been in their possession for quite some               17    Mr. Bilsker? The Court can't hear you.
18   time, and it is based upon information that came to light             18               MR. BILSKER: I'm sorry. I'm sorry.
19   during the discovery period and it was supplemented during            19               THE COURT: That's okay.
20   the discovery period.                                                 20               MR. BILSKER: Mr. Nishimoto mentioned the very
21                To the point of prejudice, and I think it is             21    first issue, which was after the deposition, they heard the
22   important to keep in mind that the Pennypack factors here             22    testimony and they realized that maybe the prototype P0
23   are relied on in each of the cases I believe that Cytiva              23    didn't have moveable modules. Well, that does not show good
24   cites. Pennypack factors are also addressed in Bio-Rad's              24    faith and it's not a reasonable excuse.
25   brief. Two of those factors go to prejudice.                          25               Interchangeable modules have been at the center
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 1    of this case since it was first filed six years ago. It's a               1   Connolly will review my order to determine whether it's
 2    limitation that's in every single claim, interchangeable                  2   clearly erroneous or contrary to law and the time
 3    modules, and to say you didn't think about whether the                    3   requirements under Rule 72(a) for taking objections to
 4    prototype had interchangeable moveable modules until after                4   nondispositive motions will govern.
 5    the deposition is just not, it's not plausible.                           5                 With respect to defendant's motion to strike
 6                Obviously, if you're relying on something for                 6   plaintiffs' supplemental response to Interrogatory Number 1,
 7    your conception, and they questioned our witnesses heavily                7   that motion is denied. It's undisputed that on July 24th,
 8    about this, did you have a complete idea of the claimed                   8   2020, one week prior to the close of fact discovery and
 9    invention? Well, if the prototype you're relying on for                   9   after the conclusion of fact witness depositions, the
10    conception or reduction to practice doesn't have the key                10    plaintiff filed its supplemental interrogatory response
11    element of the invention, that's a pretty big issue. That's             11    moving ahead by nearly a year the date it contends each
12    not something that just like slips by.                                  12    asserted claim of the patents-in-suit were conceived and
13                And if you did anything that was reasonable in              13    reduced to practice.
14    coming up with your initial response, you have all the                  14                  It is further undisputed that the documents
15    information. You know what the limitations of the claim                 15    identified in support of the supplemental response were not
16    were. There's nothing new. There's nothing new other than               16    newly discovered and had earlier been produced in the
17    maybe you didn't do your job.                                           17    litigation, albeit not matched up with this, as they were
18                And, again, that's not, that's not the basis for            18    when the supplemental response was disclosed.
19    amending and completely changing your theory. It's not a                19                  In determining not to strike plaintiffs'
20    new fact. And you didn't hear Mr. Nishimoto say anything                20    supplemental response, the situs disclosure late in the
21    about what the argument that they put in the brief to you               21    period of fact discovery, the Court has considered the
22    was. There was no argument that changed anything, and the               22    Pennypack factors as follows.
23    new evidence again, the "new evidence" is just testimony                23                  Factors 1 and 2 include prejudice or surprise to
24    coming from their own witnesses that they should have done              24    the party against whom the evidence is offered and the
25    beforehand. So that's one point.                                        25    possibility of curing it.



                                                              23                                                                             25


 1                The second point, which is this issue about,                  1                 The defendant argues that it is generally
 2    well, they are moving the date later, not earlier, so that                2   prejudiced in that it constructed its litigation theory in
 3    makes all the other cases where people try to move back to                3   reliance on the earlier response and now has to adapt its
 4    get around prior art inapplicable, no, it doesn't. The                    4   strategy to the supplemental response, but the defendant
 5    change, when people make a change, they are making a change               5   does not provide any specific showing of prejudice, such as,
 6    to basically save their patent. Here, they picked a                       6   for example, an undermining of its argument pursuant to 35
 7    conception and reduction to practice date that was early.                 7   U.S. Code, Section 102(g) or, again, for example, that the
 8    They know now that they're going to lose, so they want to                 8   plaintiff is maneuvering around relevant prior art
 9    change.                                                                   9   references.
10                So moving it one way or the other is not the                10                  Moreover, the plaintiff offered to cure any
11    relevant thing. The relevant thing is, they need to change              11    alleged prejudice through a supplemental deposition or
12    because they're going to lose based on what they have, which            12    depositions while there was ample time remaining prior to
13    is exactly the same as people who change by moving it back              13    the production of opening expert reports, but defendant
14    because they see there's a piece of prior art that's going              14    declined without explanation.
15    to kill them. So it's exactly the same thing and it's                   15                  Factor 3 concerned potential disruption of an
16    identical to the RTC case, which is the only case that Your             16    orderly and efficient trial. The defendant has not
17    Honor has which involved conception and reduction to                    17    demonstrated how the trial date would have been jeopardized
18    practice.                                                               18    by supplemental depositions if taken even slightly beyond
19                So that's it unless you have further questions.             19    the fact discovery deadline and how it would be, the trial
20                THE COURT: No further questions at this time,               20    date would be jeopardized by having to go through the
21    and I am prepared to make a ruling on this issue. The                   21    documents identified in the supplemental response, which it
22    transcript will serve as the order of the Court. I will not             22    already had in its possession having had those documents
23    be issuing anything in writing subsequent to this hearing,              23    because they were previously produced.
24    so the transcript will serve as the order, and any party who            24                  Factor 4 concerns bad faith or willfulness in
25    wishes to take objections to my ruling may do so and Judge              25    withholding the disclosure. The defendant only speculates

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 1   that the timing of the supplementation should be deemed bad              1   Exhibit 5 at page 130 is, we asked him: In what context did
 2   faith, or in its papers it has described it as                           2   you come to learn of Knauer as a competitor?
 3   "sandbagging."                                                           3              And he responded, when we were doing the
 4                 Because striking evidence is an extreme sanction           4   regulatory findings for the acquisition of the business by
 5   on which the defendant bears the burden in this instance,                5   Danaher, in that spectrum of competitors, which also
 6   the Court will not rest on a speculation of bad faith.                   6   suggests that there are other likely third-party competitors
 7                 The Court in the Pennypack case, the Third                 7   in this space that are mentioned in those regulatory
 8   Circuit, Meyers versus Pennypack Woods Home Ownership,                   8   submissions.
 9   indicates along with the other cases that address striking               9              Now, this testimony is inconsistent with prior
10   evidence and excluding evidence that there has to be                   10    testimony and argument, testimony from Dr. Darby, and
11   some type of willfulness or bad conduct on the part of the             11    arguments made by Cytiva in the context of the preliminary
12   party making the late disclosure. It's an extreme sanction             12    injunction proceedings, which are -- docket nine is the
13   and the Court needs to carefully consider it before imposing           13    brief in the consolidated case that came from the Southern
14   it.                                                                    14    District of New York that's cited in the papers, but also
15                 While it's not adequately explained why this             15    docket 11 is Dr. Darby's declaration, which we did not
16   issue came to a head when it did despite the relevant                  16    explicitly cite in the papers, but I think one important
17   documents having been disclosed well ahead of the end of               17    point is how inconsistent it is with paragraph 21 of Dr.
18   fact discovery, nonetheless, plaintiff plausibly responds              18    Darby's declaration where he stated in the context of the
19   that it was complying with Rule 26 following further                   19    preliminary injunction proceeding that "the NDC and access
20   investigation in connection with relevant deposition                   20    systems are the only protein purification systems featuring
21   testimony.                                                             21    the modular panel designs allowing for the swapping of
22                 And then, finally, the last factor, the last             22    interchangeable modules that are currently marketed or sold
23   Pennypack factor is not in dispute as the parties, both                23    for the purpose of protein purification in the United
24   sides acknowledge the importance of the information related            24    States."
25   to conception and reduction to practice.                               25               Now, the same consistency in Cytiva's likely


                                                             27                                                                        29


 1                 So for these reasons, defendant's motion to                1   arguments regarding the lost profit form of damages they
 2   strike the supplemental response is denied.                              2   will be seeking is this. They will be arguing that this is
 3                 Are we ready to move on to the second issue,               3   just a two-player market. All sales that went to Bio-Rad
 4   which relates to the regulatory documents?                               4   would have gone to Cytiva but for Bio-Rad's infringement.
 5                 MR. NISHIMOTO: For Cytiva, yes, Your Honor.                5   But based on Dr. Darby's testimony and what he said Cytiva
 6                 THE COURT: Okay. Who will address that issue?              6   has submitted to the regulatory authorities, it is -- it
 7   Mr. Bilsker, will you be addressing that on behalf of                    7   will show that there is some inconsistency in Cytiva's
 8   defendant or will some other counsel other than Mr. Bilsker              8   position that they have taken, and accordingly, these
 9   address it.                                                              9   documents are responsive to the requests for production that
10                 MR. CORREDOR: Your Honor, this is Felipe                 10    we cite in our papers, which are essentially number 54 and
11   Corredor. I will be addressing this issue.                             11    68.
12                 THE COURT: Okay. Very well. Go ahead.                    12               No. 54, which are the documents sufficient to
13                 MR. CORREDOR: This issue is about written                13    show GE's market share in the market for modular protein
14   regulatory submissions that mention third-party competitors,           14    purification systems, and 68, documents sufficient to
15   specifically Knauer, and for context, it's important to                15    identify any company that GE believes participated in the
16   understand Dr. Darby's testimony both in his deposition and            16    market for modular protein purification systems.
17   earlier, much earlier in the case six years ago at the time            17               The documents that Cytiva cites in its
18   of the preliminary injunction.                                         18    opposition don't really explain what the -- how significant
19                 Dr. Darby, who was the vice president in charge          19    Knauer is a competitor in this space whereas the regulatory
20   of the entire business at Cytiva, which was then known as GE           20    submissions, because they were dealing with a lot of
21   Healthcare until 2015, testified recently in his deposition            21    antitrust-related issues as exemplified in Exhibit 7 through
22   that he learned about Knauer, an important third-party                 22    an FTC press release about all the business units that
23   competitor, for the first time in the context of where he              23    Danahar, the acquiring party, had to divest itself of
24   did in connection with submissions made to the regulators.             24    because of overlap with Cytiva's, among other things,
25                 So the specific quote from the regulator,                25    chromatography product. It's important, and this
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 1    information is responsive and it's important to the damages               1   relate to the market share and how GE's markets share

 2    theory that will be at issue in this case.                                2   compares to the market share of third-party competitors.

 3                And I did want to respond to one last point that              3   And it's not just Knauer, because in the excerpt I read from
 4    Cytiva made in its opposition, which is regarding this idea               4   Dr. Darby's deposition at page 130, he referred to learning
 5    that they cited the correspondence between the parties and                5   about Knauer in a spectrum, "spectrum of competitors."

 6    said that this information likely doesn't exist, but if you               6               And so in those regulatory submissions, I mean,

 7    look at that page 2 of the e-mail, the statement was very                 7   it's likely that they played out the market share of third
 8    vague, and I had actually asked Mr. Nishimoto at a                        8   parties in order to minimize, you know, the dominant market

 9    subsequent meet and confer what exactly he meant, because we              9   position that GE has or Cytiva has in this space, and it
10    did not want to move if the documents don't exist contrary              10    shows that actually we have not received documents

11    to Dr. Darby's testimony, who said that they do exist.                  11    sufficient to show either these market share or the full

12                And the only thing he told me is that they asked            12    spectrum of companies that participate in this market which
13    Dr. Darby and he could not find the documents he testified              13    go directly to RFP 64 and 58.

14    about. So they did not make any representation about any                14                THE COURT: All right. It seems to the Court
15    effort to search for these documents outside of asking Dr.              15    that this is not so much of a discovery dispute as it is

16    Darby, and so we do believe that based on Dr. Darby's                   16    more of an argument that will eventually be made at some

17    current testimony.                                                      17    point, even in a motion practice perhaps or eventually at
18                Unless Your Honor has any questions, I think                18    trial taking issue with allegedly inconsistent positions

19    that completes my argument.                                             19    that Cytiva is taking, depending on what goals it wishes to

20                THE COURT: All right. Well, again, just a few               20    advance, i.e., pursuing lost profits as a damages theory in

21    brief ones before I hear from the plaintiff with respect to             21    litigation or whatever position it had taken with respect to

22    the argument that the information is contained in the                   22    facilitate its acquisition or with regulatory issues about a
23    "regulatory documents," assuming for the sake of argument               23    more fulsome multiple party market. And I'm really

24    such documents exist.                                                   24    struggling here to see where this is a discovery matter for

25                When I look at Rule, request for production 54,             25    the Court when I'm told by Cytiva that there are no such



                                                             31                                                                           33


 1    it doesn't seem to be specifically directed to such                       1   documents in existence regardless.

 2    documents. That interrogatory seems to seek documents, or                 2               MR. CORREDOR: Well, I mean, I think that is a

 3    that production request seems to seek documents showing GE's              3   question for Cytiva, because when I asked that question, we
 4    market share in the relevant market.                                      4   also didn't want to bring disputes to Your Honor about

 5                Request for Production 66 seems to seek                       5   documents that don't exist.
 6    documents showing efforts by GE to increase or maintain its               6               But when I asked that question, and the
 7    market share.                                                             7   statement in the correspondence is -- was very vague. And
 8                And then request for production 68 is most                    8   there is, my understanding based on followup conversations

 9    related to what it is Bio-Rad is seeking in that request for              9   with Mr. Nishimoto is that they have not really looked for
10    production 68 seeks documents identifying companies GE                  10    these documents other than asking Dr. Darby if he had them,
11    believes compete in the relevant market.                                11    and Dr. Darby did not have the documents, so he may not have
12                So in light of that, it looks like these were               12    retained them, but presumably, you know, either outside
13    not specifically requested, but putting that aside for the              13    counsel or people involved in the acquisition more closely

14    moment, I want to confirm that when these responses were                14    than Dr. Darby would have these documents. And so this is,
15    submitted and answered by Cytiva, that you're not                       15    you know, a prototypical discovery dispute about compelling
16    contending, or Bio-Rad is not contending that there are any             16    information, documents that we should get responsive to our

17    deficiencies in the production responses. It's just the                 17    RFPs that we have not gotten, and that makes the production
18    deposition of Dr. Darby suggested that there might be                   18    that we have made deficient.
19    regulatory documents that have some bearing at least with               19                THE COURT: All right. Then I will hear from
20    respect to request for production 68.                                   20    Cytiva, please.

21                Is that correct, that there weren't perceived               21                MS. DeWITT: Good afternoon, Your Honor. This
22    deficiencies in the prior responses by Cytiva?                          22    is Amy DeWitt from Arnold & Porter.
23                MR. CORREDOR: Your Honor, I think we would                  23                And I think Your Honor asked the right questions

24    disagree. I think Dr. Darby's testimony shows that their                24    there, because if we can just start with the document
25    production was deficient because there are documents that               25    requests themselves, No. 64 and No. 66, No. 68 were all

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 1   documents sufficient to show or sufficient to identify, and           1   submissions, and that was a preliminary investigation that
 2   they were broadly, they were broadly phrased. Documents               2   we referenced in our letter brief.
 3   sufficient to show GE's market share, efforts by GE or                3                THE COURT: All right. Any further
 4   companies that GE believe participate in the market for               4   investigation beyond Dr. Darby?
 5   modular chromatography systems.                                       5                MS. DeWITT: Not at this time, Your Honor. And
 6              We satisfied those discovery obligations. We               6   if it -- the submission of Mr. Darby was Cytiva at the time,
 7   have provided numerous examples of documents dating back              7   but the regulatory submissions themselves, it's my
 8   2014/2015 to Bio-Rad of these market share reports that were          8   understanding they were from Danahar, not Cytiva.
 9   tracked by Cytiva and GE at the time, and they go right up            9                THE COURT: All right. Thank you.
10   through March of 2019, and we provided some examples to you         10                 All right. Mr. Corredor, anything further?
11   as Exhibit B, C, D and E. All of them address Knauer as a           11                 MR. CORREDOR: Yes. Just briefly, Your Honor.
12   competitor.                                                         12    One point is the documents that were cited by counsel, I
13              Exhibit C has 17 pages dedicated to discussing           13    think it's important to note that these documents really
14   Knauer as one of GE or Cytiva's competitors. Exhibit D is a         14    don't show the relative, what GE's market share is compared
15   market research tracker. So seven different companies.              15    to the, to the second competitors in this space, and we
16   This is dated 2/2 2019, right around the time that Bio-Rad          16    think that it's something that would be definitely in the
17   is claiming there's some sort of inconsistency with what            17    regulatory submissions. And so that's just one example of
18   Cytiva is submitting to some regulatory agency.                     18    the deficiencies that are found even in the documents that
19              In Exhibit E, it's a global playbook from 2019           19    they had cited to.
20   that discusses "the top three competitors which include             20                 MS. DeWITT: And if I may, I apologize, Your
21   Knauer."                                                            21    Honor. I do want to respond to that, and I am looking at
22              So Bio-Rad is trying to manufacture some                 22    Exhibit D.
23   inconsistency based on Mr. Darby's testimony. And Bio-Rad's         23                 THE COURT: All right. Take a moment. We'll
24   counsel even admitted, Mr. Darby stepped down from                  24    get that along with you if you don't mind.
25   day-to-day practice around 2015 or 2016 and he was not              25                 All right. I'm pulling it up now. Exhibit D?



                                                         35                                                                            37


 1   involved in (inaudible) of the company.                               1                MS. DeWITT: Exhibit D, and I am on -- the last
 2              Bio-Rad was able to take the deposition of that            2   three digits of the Bates number are 923, so it's actually
 3   person, Anna Elston, and she testified that Knauer was a              3   page 136 out of 196.
 4   competitor.                                                           4                THE COURT: All right. Let me get there. I
 5              So all of this information shows no                        5   have it. Page No. 923. Go ahead.
 6   inconsistency whatsoever. In the preliminary injunction               6                MS. DeWITT: And this is global market share,
 7   briefing and the declaration that Mr. Corredor quoted, those          7   and I apologize for the quality of it, but you can see a
 8   were from 2014, 2015, and the market has changed since then.          8   bar chart on the left that shows relative global unit
 9   Knauer, and the documents will show, was a small player at            9   shares of GE Waters Protein BioSolution, Bio-Rad, Knauer,
10   that time, and they disclose those are also evident in the          10    Agilent, and some others. I apologize. I think that's
11   exhibits that we have shown you.                                    11    APAC.
12              So we don't believe there has been any                   12                 So I don't know what Mr. Corredor is speaking to
13   deficiency in Cytiva's discovery obligations. We produced           13    when he says the documents. And we have produced these
14   multiple documents that show that Knauer has been and is            14    through multiple time periods. This is just not a one-off
15   today a competitor of Cytiva and Cytiva recognizes that. So         15    document. There is a of market share documents just like
16   we don't think that there is any basis to compel additional         16    this called a biotracker that had been produced to Bio-Rad
17   documents here.                                                     17    in this litigation.
18              THE COURT: All right. Can you address the                18                 THE COURT: All right. I will turn back to
19   issue of whether or not such documents exist as it was              19    Mr. Corredor. Anything further with respect to this motion
20   raised in your papers and also by opposing counsel?                 20    to compel?
21              MS. DeWITT: Yes. When the issue was raised by            21                 MR. CORREDOR: Yes. One last point, Your Honor.
22   Bio-Rad, we went to Mr. Darby, who was the one person at            22    I mean, I think we heard from counsel that the investigation
23   Cytiva that would know if they existed, and we asked him to         23    really wasn't very complete and Dr. Darby testified that he
24   conduct an investigation. He said he looked through                 24    found out this information about Knauer and the whole
25   thousands of his e-mails. He did not find those                     25    spectrum of competitors from regulatory submissions, so I

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 1    mean these documents must exist and they would be, they                   1   respect to item number three on the Court's agenda?
 2    would have been submitted to the authorities. That's it,                  2               MR. CORREDOR: Yes, Your Honor. Mr. Corredor
 3    Your Honor.                                                               3   again. I will address this one.
 4                THE COURT: All right. Thank you.                              4               Now, I wanted to get started. Before getting
 5                Again, having read the submissions and the                    5   into the waiver issue, I would like to argue based on the
 6    exhibits and having heard the arguments of counsel, it is                 6   privilege log, which is Exhibit 9 to our motion, and Cytiva
 7    the Court's ruling that defendant's motion to compel the                  7   has cited the Spalding case, but actually, if you look at
 8    production of regulatory documents identifying competitors                8   the privilege log, Exhibit 9, and just as an example, on the
 9    in the modular chromatography product market is denied.                   9   first page of Exhibit 9, the specific entry numbers 2, 5, 9
10                The plaintiff, having conferred preliminarily               10    and 12, but many of these entries that are identified as
11    with Dr. Darby following the deposition, has determined that            11    draft patent application materials are not logged to
12    those documents are not in existence, they're not available.            12    reflect, in a way that reflects any communication between an
13    Admittedly, the plaintiff did not go further, but indicates             13    attorney and a client, and so they are missing a necessary
14    that even if they were available, they're likely in the                 14    elements for privilege to apply in the first place, at least
15    possession of Danahar, not Cytiva.                                      15    for those entries that are not, that don't reflect
16                Again, we are all assuming hypothetically that              16    communications between clients because --
17    such documents exist, but even assuming their existence, the            17                THE COURT: Has this been raised though with the
18    Court finds that the discovery requests on which defendant              18    Court or with opposing counsel, that is the deficiencies in
19    relies, they're not specifically directed to such documents.            19    the manner and the description in which they were entered on
20    At the time the requests for production were filed and                  20    the privilege log, because if it hasn't, it's not a matter
21    thereafter, the defendant did not raise any deficiencies                21    ripe for the Court.
22    in plaintiffs' production of discovery relating to the                  22                MR. CORREDOR: I believe I can pull up the
23    market, market participants and market shares, and, in                  23    exhibit. I believe it was raised with counsel. It was not
24    fact, the exhibits that have been discussed on this call,               24    included in our papers because of page limitations, but if I
25    which were attended to Cytiva's response to this motion,                25    can pull up the exhibit quickly.



                                                               39                                                                          41


 1    do demonstrate that there was discovery, and specific                     1               THE COURT: All right. If it is an exhibit,
 2    discovery with respect to a competitor Knauer with respect                2   please direct me to where I should be looking.
 3    to market share, market participants and the market,                      3               MR. CORREDOR: Yes. One second, Your Honor.
 4    relevant market itself.                                                   4               (Pause.)
 5                Bio-Rad seeks to compel on the basis that                     5               MR. CORREDOR: Yes. Exhibit 4 at page 4, which
 6    plaintiff has taken inconsistent positions on these topics                6   is the correspondence between the parties.
 7    depending on the goals it wants to advance in litigation                  7               THE COURT: All right.
 8    with respect to a damages theory as contrasted with other                 8               MR. CORREDOR: The bottom of page 4 is where we
 9    positions it has taken with regulators, but the                           9   raised this issue, and I believe we also discussed it with
10    interrogatories themselves do not -- again, they ask for                10    them on the -- on one of the subsequent meet and confers.
11    documents sufficient to show, and while defendant argues                11                THE COURT: All right. Go ahead.
12    that the regulatory documents, their existence will shed the            12                MR. CORREDOR: Yes. So the point I just wanted
13    most light on plaintiffs' position, such an argument                    13    to make is that those materials were not even communicated
14    demonstrates that such documents, even if arguably                      14    between attorneys and clients as noted in Exhibit 4 at page
15    available, would be cumulative and not proportional to the              15    4, and they are not, accordingly, not subject to the
16    needs of the case under Rule 26 in the Court's view based on            16    attorney/client privilege under Spalding.
17    what the plaintiff has demonstrated it has already provided             17                Now, even if those entries and the remaining
18    on the issues to the defendant.                                         18    patent application materials were the communications between
19                So that is my ruling with respect to this motion            19    attorneys and clients, even if they are privileged, there
20    to compel the second category of documents, the regulatory              20    has been a waiver as a result of what happened with the
21    documents.                                                              21    Exhibit 67 document.
22                The third issue relates to privilege and a                  22                Now, Cytiva in its opposition admits that Mr.
23    clawed back inventory disclosure form and whether that opens            23    Lundqvist testified that the invention disclosure form was
24    the door to a subject matter waiver.                                    24    an accurate summary of his invention. Specifically, this
25                So is the defendant ready to proceed with                   25    is Exhibit 10 of page 240, lines 4 though 6. And this

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 1   testimony shows that he relied on it during deposition to                  1   but, you know, if the use, the unobjected to use at the very

 2   support the idea of what his invention was.                                2   first deposition was enough to waive the privilege. And the

 3                And it is also important to note that                         3   Court ruled as much by reasoning that, you know, pointing in
 4   Mr. Lundqvist was testifying on behalf of Cytiva as a                      4   part to the Rule 502(b)(3) requirement that the party
 5   30(b)(6) designee on conception and reduction to practice.                 5   asserting privilege must promptly rectify any in advertent

 6   So this testimony shows reliance by Cytiva on Exhibit 67.                  6   disclosure upon discovery, and the failure to object at the

 7                And Mr. Lundqvist also provided additional                    7   deposition waives the privilege with respect to, in that
 8   testimony at pages, for example, page 238, line 3 to 5 of                  8   case it was, I guess, a document called the 2003 memo.

 9   his deposition, where he testified that he recognized it                   9               So I think it's pretty -- our position is that
10   as a disclosure of the invention, and then subsequently at               10    it's pretty clear that there has been a waiver here.

11   page 241 he testified about the patents application process              11                And now the second issue is the scope of the

12   and how the information went to in-house counsel in order                12    waiver, and I think based on the factors and the sword and
13   to be incorporated into the draft patent application                     13    shield (inaudible) and Rule 502(a), it is our contention

14   materials. So this just showed additional reliance on these              14    that this waiver extends to the draft patent application
15   materials.                                                               15    material that is the subject of our motion, one, because the

16                And moving on, Your Honor, about, you know,                 16    waiver was intentional. Counsel elected not to object at

17   whether, whether the Exhibit 57, all of that was proper or               17    the deposition.
18   not. I think it is worth noting here that Cytiva in its                  18                The patent application material compared the

19   opposition does not cite any case at all supporting the idea             19    same subject matter, which is the description of the

20   that a document that is used in a deposition can be clawed               20    invention that was made in preparation for filing for patent

21   back if the use is not objected to at that deposition, and I             21    applications under the subject matter, and that all of these

22   think, you know, their failure to cite any specific case                 22    materials should in fairness be considered together because,
23   speaks volumes about what happened and what the implications             23    Your Honor, the description of the invention has changed

24   of what happened with Exhibit 67 should be.                              24    over time. And I think we heard a little bit of that in

25                The two cases they do cite are completely                   25    the, in Mr. Bilsker's argument earlier today, but that is



                                                               43                                                                             45


 1   inapposite. First, they cite to Hanes. It doesn't even                     1   why we need -- you know, if it's appropriate to extend the

 2   deal with waiver at all. And then they also cite to IBM,                   2   waiver under subject matter doctrine to the remainder, to

 3   which talks about waiver in the context, in a very different               3   the remaining related draft patent application materials
 4   context, which is waiver as a result of disclosures made to                4   that we identified just exactly as Your Honor ruled in Hoff

 5   a third party.                                                             5   Mountain, which is a case that Cytiva cited, where it found
 6                So the only cases that have been cited by either              6   that -- where you found that, Your Honor found that the
 7   side show that, you know, waiver is -- follows in these                    7   waiver extended to related subject matters.
 8   circumstances. And the two specific cases are Kramer and                   8               I think that's all I have, Your Honor.

 9   LunarGaming. In both cases, show that a failure to object                  9               THE COURT: Yes. I figured that you were at the
10   either to questions in the case of Kramer or to exhibits in              10    end when you paused.
11   the case of LunarGaming at a deposition waive the privilege              11                I have a few questions, if you don't mind,
12   over, over those materials.                                              12    before I hear from Cytiva.
13                And LunarGaming actually cites several cases                13                With respect to this case, there was a

14   holding as much in support of its own holding that "under                14    protective order that Cytiva cited, and actually, it's
15   both state and federal law, if a privileged document is used             15    docket item number -- I think it's docket item 37 if I have
16   at a deposition and the privilege holder fails to object                 16    it correctly in the case. In any event, it's paragraph 46

17   immediately, the privilege is waived," and this is at page               17    of the protective order, which incorporates the clawback
18   star five of LunarGaming.                                                18    provisions of Rule 26(b)(5)(B). So when there is, assume
19                Now, in its opposition, Cytiva argued that there            19    for this hypothetical, when there is an inadvertent
20   were other uses of the exhibit in LunarGaming, but if you                20    disclosure of privileged information that's able to be

21   read the decision, the Court found that the very first                   21    clawed back, and you don't dispute that. Am I correct on
22   unobjected to use of the privileged document at the first                22    that?
23   deposition waived the privilege and its discussion of                    23                MR. CORREDOR: Well, I think the answer is

24   additional later uses in other depositions and in a motion               24    two-pronged. One is, as a general matter, there is a
25   for summary judgment only further strengthen the waiver,                 25    clawback provision, and I think what makes Exhibit 57

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 1    different is that we did use it at the deposition of                      1   said, I think, we cited it in our brief, and, again, Your
 2    Mr. Lundqvist, and so as a result, the time to have clawed                2   Honor has the transcript, the extent of his testimony on
 3    back that document was at the deposition, because if you                  3   that.
 4    read, you know, both Rule 502(b)(3), Rule of Evidence                     4               Here, where there's nothing on the face of the
 5    502(B)(3) and Rule 26(b)(5), which we just cited, both of                 5   document indicating it's privileged, the witness knew
 6    them emphasize, you know, the need to do this promptly. And               6   nothing about the document. Where, to my mind, no one at
 7    when a document is presented to you in deposition, not only               7   the deposition knew or suspected the document was
 8    was, you know, the counsel defending Mr. Lundkvist there.                 8   privileged, it strikes me as unusual then to find a clear
 9                Mr. Sorby, who was involved in these documents,               9   and intentional waiver of the privilege when the basis for
10    was also attending the deposition, and he did not say                   10    the privilege wasn't even established and the witness knew
11    anything about this material being privileged.                          11    nothing about it.
12                So I think there is an absence of action to claw            12                It's a point that I've raised, Cytiva has raised
13    things back. And just as an example, I mean, they, Cytiva               13    in its opposition. It's the last paragraph and it goes to
14    used a privilege document with one of our witnesses. At                 14    the question of whether anyone at the deposition suspected
15    least it was partially privileged. And I immediately on the             15    the document was privileged, and counsel for Bio-Rad had
16    spot clawed it back and said, you know, you can't ask                   16    represented that he did not.
17    questions about this one slide in the document because it's             17                There was an exchange immediately following the
18    privileged and we're clawing it back pursuant to the                    18    questioning on this document as to whether the witness had
19    protective order, and then I followed up with a letter                  19    waived privilege and counsel defending Cytiva, who was me,
20    which, you know, they did not do, and so that is the key                20    said, I disagree. I don't think there has been a waiver,
21    point here, Your Honor.                                                 21    and, in fact, I didn't see a waiver based on that
22                THE COURT: All right. Thank you. I will hear                22    questioning, and if we look back at the information that
23    from plaintiffs' counsel.                                               23    was injected into the case, there was no privileged
24                MR. NISHIMOTO: Thank you, Your Honor. Ryan                  24    information.
25    Nishimoto again for the plaintiff.                                      25                When we went back and looked and investigated


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 1                Let me address, first of all, the issue that we               1   these issues, more specifically, issues related to whether
 2    raised in opposition, which I heard again from Mr. Corredor,              2   there was any clawback, there were a number of documents
 3    which is the assertion that the witness relied on this                    3   that we needed to address.
 4    Exhibit 67 to describe his invention.                                     4               Let me address then, and I apologize. I'm a
 5                THE COURT: I read the transcript, and actually,               5   little disjointed here.
 6    I have the transcript pages in front of me, so I don't need               6               So what I just addressed was why that was not
 7    it, you know, repeated if you don't mind. I'm more                        7   raised at deposition. No one realized it was privilege
 8    interested in addressing the issue of whether a prompt                    8   before during the deposition. Your Honor noted the 12 days
 9    objection was required at the deposition, whether it was                  9   that counsel has or, excuse me, that Bio-Rad in its brief.
10    sufficient and timely, but 12 days later a request to claw              10    And I will say it took us awhile to go back and take a look
11    it back was made. And if it is, in fact, waived as to the               11    at whether there were additional documents, what was the
12    disclosure form, where do we stand with regard to subject               12    origin of Exhibit 67, whether there was a privilege claim on
13    matter waiver?                                                          13    this.
14                MR. NISHIMOTO: Thank you, Your Honor. I                     14                I happened also to be out of the office for a
15    appreciate the guidance.                                                15    week on a family vacation an opinion. But importantly, the
16                On the issue of the promptness of the objection,            16    point here is during that 12-day gap, nothing happened in
17    it's important to note, and Your Honor has the transcript in            17    the interim with regard to Exhibit 7 -- 57. It was not
18    front of you, that the witness had no idea what he was                  18    being subsequently used in a summary judgment motion at the
19    looking at in terms of who created it, where it came from,              19    time, used in subsequent deposition by either party. It
20    who drafted the summary, whether he had even submitted it in            20    wasn't on anyone's radar as far as I know.
21    a bench disclosure.                                                     21                THE COURT: You're breaking up, Mr. Nishimoto,
22                There's nothing on the face of the document                 22    so please try and stay close to your microphone. And,
23    itself that indicates privilege, that states that it's                  23    again, I will ask others if you are not muted, please stay
24    something that was prepared by prosecution counsel. There's             24    on mute. I'm muting my microphone as well.
25    no signatures on it. And, in fact, the witness himself                  25                MR. NISHIMOTO: Thank you. Let me just say the
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 1   fact that nothing happened in the interim with that document            1   Yes, Your Honor. A couple of quick points.
 2   is an important point, and that is -- that distinguishes                2               One, I think Mr. Nishimoto said that
 3   this case from, for example, the LunarGaming case that                  3   Mr. Lundqvist had no idea what the document was, but if you
 4   Bio-Rad has cited wherein LunarGaming, the document was                 4   look at page 238, lines 3 to 5, he testified that he
 5   subsequently used in a summary judgment motion. It was                  5   recognized it as a disclosure of invention, so he actually
 6   subsequently used at a second deposition. It kept coming                6   knew what the form was. And based on his testimony, this is
 7   around in the litigation. Here, nothing happened during                 7   the type of document that were exchanged with Mr. Sorby on
 8   that interim.                                                           8   page 241. And so it would be incumbent on counsel and
 9              THE COURT: Go ahead.                                         9   Mr. Sorby to have clawed back the documents right then and
10              MR. NISHIMOTO: When it comes then to the                   10    there if they wanted to preserve the privilege.
11   subject matter waiver, and as we pointed out in our brief,            11                And then the other thing, the other point I
12   the Hock Mountain case, of course, which the Court is aware           12    wanted to make is we heard Mr. Nishimoto attempt to
13   of and Mr. Corredor alluded to that as well, I think it's             13    distinguish LunarGaming, but I would direct your attention
14   important to note and to remind everyone here, of course,             14    to page *5 of that, of that case again, and I will read a
15   that that is reserved for unusual situations.                         15    passage that I think is important, which is Based on the
16              There is no attempt to use this information as a           16    federal and state law cited above and the Rule 502(b)(3)
17   sword in this case. Cytiva has no intent of doing that.               17    requirement that Lunar promptly rectify inadvertent
18   There's no information from Exhibit 67 that it is attempted           18    disclosure upon discovery, Lunar's failure to object at the
19   to be used as a sword. There is nothing from any of the               19    deposition waived the privilege with respect to the 2003.
20   documents that it had been withheld as privileged in this             20                So this was -- this shows that the Court was
21   case or clawed back that Cytiva is attempting to use.                 21    basing its decision on the failure to object at that very
22              This is not a case even where the inventor                 22    first deposition and was not relying on, you know, the
23   himself has relied on the document to support his invention           23    subsequent use that Mr. Nishimoto pointed out was not made
24   or testimony regarding it, and so it certainly does not               24    in this case.
25   reach that level of a subject matter waiver.                          25                That is all I have, Your Honor.


                                                           51                                                                           53


 1              Now, the first issue that came up when                       1               THE COURT: All right. Thank you.
 2   Mr. Corredor was speaking was the observation that certain              2               MR. NISHIMOTO: Your Honor, if I may --
 3   entries on a privilege log he says did not identify a person            3               THE COURT: Go ahead.
 4   to whom the information was communicated. I don't believe               4               MR. NISHIMOTO: Apologies. This is Ryan
 5   that was briefed here. I don't believe that issue was ripe              5   Nishimoto again.
 6   for the Court. But addressing that, Mr. Corredor also noted             6               I do want to note that we do, as the Court
 7   that during Mr. Lundqvist's deposition, that is the                     7   pointed out, have a protective order in this case that
 8   inventor, after the questioning on Exhibit 67, Mr. Lundkvist            8   governed, which should be the guiding principle here. I'm
 9   was asked, what is the patent application process? And he               9   not familiar with what protective order or other issues were
10   said, well, we talked to the prosecution counsel at then GE           10    at issue in an unrelated case like LunarGaming.
11   Healthcare, Leonard Sorby.                                            11                THE COURT: All right. Having heard the
12              Now, that information itself is not privileged.            12    arguments of counsel in conjunction with reading the
13   That's the kind of information that would appear on a                 13    submissions, I'm prepared to make a ruling on the record
14   privilege log. And to the extent there are questions about            14    with respect to this application. And defendant's motion to
15   who information was translated to during the patent                   15    compel production of a clawed back invention disclosure form
16   application process, I think the inventor testimony there             16    and draft patent application material is denied, and my
17   clarifies it, and to the extent there's questions on the              17    reasons are as follows.
18   law, we'd be happy to address that. But I don't think                 18                Certainly, ideally, if a privileged document
19   because that issue has been presented on the papers, it was           19    comes into play in a deposition in a perfect world, one
20   certainly not something that we addressed in the papers, but          20    would expect that an immediate objection on privilege would
21   I wanted to address it here.                                          21    be made and the document clawed back. But in this instance
22              THE COURT: Thank you.                                      22    there are a number of reasons that will guide me in terms of
23              Anything further, Mr. Corredor? I think you may            23    not finding a privilege waiver here.
24   be on mute.                                                           24                The invention disclosure form introduced as an
25              MR. CORREDOR: Sorry, Your Honor. My apologies.             25    exhibit to the Lundkvist deposition was clawed back by the
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 1    plaintiff in accordance with paragraph 45 of the protective              1   and based on what I'm hearing from Cytiva, it wasn't
 2    order, which incorporates the clawback provisions of Rule                2   expected to come up with respect to this discovery dispute
 3    26(b)(5)(B).                                                             3   teleconference. So the parties should continue to work on
 4                  I have read the Lundkvist deposition transcript            4   that and promptly bring to my attention any issues that
 5    attached as Exhibit 10 to document item number 139 and rely              5   remain with respect to the privilege log.
 6    upon the testimony as follows as factual support for my                  6                So those are my rulings. As I said earlier, any
 7    discovery ruling.                                                        7   objections can be taken up in accordance with the time frame
 8                  Lundkvist didn't remember seeing the documents,            8   under Rule 72(a). This transcript will serve as the order
 9    did not prepare the invention disclosure form, did not                   9   of the Court.
10    submit a disclosure or description of the relevant modular             10                 With that, anything further from the Bio-Rad
11    system, finds the summary of the idea consistent with what             11    defendant?
12    he invented but had no participation in the drafting of the            12                 MR. BILSKER: No, Your Honor.
13    patent application that was filed. And while with that, as             13                 THE COURT: Anything further from the plaintiff?
14    has been represented on this record, there was nothing                 14                 MR. NISHIMOTO: No, Your Honor.
15    glaring or standing out to indicate that this document was             15                 THE COURT: All right. This concludes our
16    privileged, so the Court finds that the clawback of it, even           16    discovery teleconference. Take care. Stay well, counsel.
17    though it took 12 days to do that, does not subject the                17    Thank you.
18    plaintiff to a privilege waiver as with respect to this                18                 (Counsel respond, "Thank you, Your Honor.")
19    document. And the facts I've just quoted just for the                  19                 (Telephone conference concluded at 3:23 p.m.)
20    record are from pages 237 to 240 of the Lundkvist                      20                        - - -
21    deposition.                                                            21
22                  The deposition testimony of the witness that             22
23    I've just summarized in my view does not amount to a                   23
24    privilege waiver as the witness did not testify to reliance            24
25    on the invention disclosure form to disclose or describe his           25


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 1    idea or invention at his deposition, and therefore I find no
 2    subject matter waiver as to the plaintiffs' draft patent
 3    application materials.
 4                  As it was noted in the arguments, the subject
 5    matter waiver is really limited in the situation in which a
 6    party intentionally put protected information into the
 7    litigation for a tactical advantage, which in fairness
 8    requires a further disclosure of related protected
 9    information in order to prevent a selective and misleading
10    presentation of evidence to the disadvantage of the
11    adversary, and that's really what is going on in Hoff
12    Mountain versus Merex at 2016 Westlaw 690883.
13                  Here, the Court finds the plaintiffs' disclosure
14    inadvertent, not intentional. Thus, the subject matter
15    waiver is not invoked. With respect to those, any
16    alleged infirmities in logging items on the privilege
17    log to indicate who the communications were between, I
18    instruct that the parties meet and confer about that and
19    then present any issues to the Court with respect to
20    deficiencies in the privilege log or improper designation
21    of items on the privilege log as privileged when they are
22    not, in fact, attorney/client communications or work product
23    documents.
24                  I don't know that that issue is sufficiently
25    ripe for me. It wasn't really spelled out in the papers,
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EXHIBIT 2
                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

GE HEALTHCARE BIO-SCIENCES AB,                      )
GE HEALTHCARE BIO-SCIENCES                          )
CORPORATION, and GENERAL                            )
ELECTRIC COMPANY,                                   )   C.A. No. 18-1899-CFC
                                                    )
               Plaintiffs,                          )   DEMAND FOR JURY TRIAL
                                                    )
        v.                                          )
                                                    )
BIO-RAD LABORATORIES, INC.,                         )
                                                    )
               Defendant.                           )

                     DEFENDANT BIO-RAD LABORATORIES, INC.’S
                         FIRST SET OF INTERROGATORIES

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Defendant Bio-Rad

Laboratories, Inc. (“Bio-Rad”) requests that Plaintiffs GE Healthcare Bio-Sciences AB, GE

Healthcare Bio-Sciences Corporation, and General Electric Company answer, in writing and

under oath, the following Interrogatories within thirty (30) days of service.

                                           DEFINITIONS

       As used herein, the terms listed below shall be defined as follows. Insofar as a term is

not explicitly defined, the meaning to be used is the commonly accepted definition of the term.

Notwithstanding any definition set forth below, each word, term, or phrase used in these

Requests for Production is intended to have the broadest meaning permitted under the Federal

Rules of Civil Procedure. In these Requests for Production, the following terms are to be given

their ascribed definitions:

       1.       The term “Bio-Rad” shall mean Defendant Bio-Rad Laboratories, Inc. and, where

applicable, its officers, directors, employees, partners, corporate parent, subsidiaries or affiliates.
        2.     “Plaintiffs,” “You,” “Your,” and “GE” shall refer to Plaintiffs GE Healthcare Bio-

Sciences AB, GE Healthcare Bio-Sciences Corporation, and General Electric Company,

individually and collectively, including, without limitation, all corporate locations of each, and

all predecessors, predecessors-in-interest, subsidiaries, parents, and affiliates, and all past or

present directors, officers, agents, representatives, employees, consultants, attorneys, entities

acting in joint venture, licensing agreements, or partnership relationships with GE Healthcare

Bio-Sciences AB, GE Healthcare Bio-Sciences Corporation, or General Electric Company and

others acting on behalf of GE Healthcare Bio-Sciences AB, GE Healthcare Bio-Sciences

Corporation, or General Electric Company.

        3.     “This action” shall mean the above captioned litigation, GE Healthcare Bio-

Sciences AB et al. v. Bio-Rad Laboratories, Inc., Civil Action No. 1:18-1899-CFC (D. Del.).

       4.      “S.D.N.Y. litigation” shall mean GE Healthcare Bio-Sciences AB et al. v. Bio-

Rad Labratories, Inc., Case No. 2:14-cv-07080 (LTS) (S.D.N.Y.).

        5.     “Patents-in-Suit” and “Asserted Patents” shall mean United States Patent No.

9,709,589 (the “’589 Patent”), U.S. Patent No. 9,709,590 (the “’590 Patent”), U.S. Patent No.

9,709,591 (the “’591 Patent”), and U.S. Patent No. 9,671,420 (the “’420 Patent”).

        6.     “Related Patents” shall mean all patents and patent applications claiming priority

to Patent Application No. 0950431-7 filed in Sweden on June 9, 2009 and/or to International

Patent Application No. PCT/SE2010/050624 filed on June 4, 2010, including U.S. Patent No.

8,821,718, U.S. Patent No. 9,404,902, and U.S. Patent No. RE47,124.

        7.     “Documents” shall mean all written, graphic or otherwise recorded material,

Including without limitation, electronically stored information regardless of the form of storage

medium, microfilms or other film records or impressions, tape recordings or computer cards,




                                                   2
floppy disks or printouts, any and all papers, photographs, films, recordings, memoranda, books,

records, accounts, communications, letters, telegrams, correspondence, notes of meetings, notes

of conversations, notes of telephone calls, inter-office memoranda or written communications of

any nature, recordings of conversations either in writings or upon any mechanical or electrical

recording devices, Including e-mail, notes, papers, reports, analyses, invoices, canceled checks or

check stubs, receipts, minutes of meetings, time sheets, diaries, desk calendars, ledgers,

schedules, licenses, financial statements, telephone bills, logs, and any differing versions of any

of the foregoing, whether so denominated, formal, informal or otherwise, as well as copies of the

foregoing which differ in any way, including by the addition of handwritten notations or other

written or printed matter of any nature, from the original. The foregoing also specifically

includes information stored in a computer database and capable of being generated in

documentary form, such as electronic mail, text messages (i.e., SMS messages), other electronic

messages including messages sent or received via Slack, WhatsApp, Google Hangouts,

Facebook Messenger, and the like.

       8.      “Communications” shall mean, without limitation, any transmission, conveyance

or exchange of a word, statement, fact, thing, idea, Document, instruction, information, demand

or question by any medium, whether by written, oral or other means, including but not limited to,

electronic communications and electronic mail (“e-mail”).

       9.      “Thing” shall mean any physical specimen or tangible item in Your possession,

custody or control, including without limitation research and development samples, prototypes,

productions samples, and the like.

       10.     “Person” shall mean any individual, corporation, proprietorship, association, joint

venture, company, partnership or other business or legal entity, including governmental bodies




                                                 3
and agencies. The masculine includes the feminine and vice versa; the singular includes the

plural and vice versa.

           11.   The term “identify” with respect to a person means to give, to the extent known,

the person’s full name, present or last known address, and when referring to a natural person,

additionally, the present or last known place of employment.

           12.   The term “identify” with respect to a document means to give, to the extent

known, the (i) type of document; (ii) general subject matter; (iii) date of the document; and (iv)

author(s), addressee(s) and recipient(s).

           13.   “Include” and “including” shall mean including without limitation.

           14.   The terms “all,” “any,” and “each” shall each be construed as encompassing any

and all.

           15.   The words “or” and “and” shall be read both in the conjunctive and in the

disjunctive wherever they appear, and neither of these words shall be interpreted to limit the

scope of these Requests for Production.

           16.   “Referring to,” “relating to,” “showing,” or “regarding” shall mean containing,

describing, discussing, embodying, commenting upon, identifying, incorporating, summarizing,

constituting, comprising, or otherwise pertinent to the matter or any aspect thereof.

           17.   The use of the singular form of any word includes the plural and vice versa.

           18.   The use of a verb in any tense shall be construed as the use of the verb in all other

tenses.

           19.   “Prior art” shall refer to all systems, products, publications, articles,

communications, or other documents describing or explaining Modular Automated Fluid

Handling Systems, chromatography systems, or other preparative protein purification systems




                                                    4
that allow for interchangeable fluid handling modules or units and were in existence prior to June

9, 2009.

          20.    “Infringe” and “infringement” means direct infringement, contributory

infringement, infringement by inducement, literal infringement, and infringement under the

doctrine of equivalents.

          21.    The term “asserted claims” refers to each and every claim of the Asserted Patents

that Plaintiffs contend Bio-Rad infringes. The term “asserted claim” refers to one of the asserted

claims.

          22.    The phrase “written description” refers to the requirement that “[t]he specification

shall contain a written description of the invention” as set forth in 35 U.S.C. § 112 ¶ 1 and Ariad

Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336 (Fed. Cir. 2010).

          23.    The phrase “enabling disclosure” refers to the requirement that “[t]he

specification shall contain a written description of . . . the manner and process of making and

using [the invention], in such full, clear, concise, and exact terms as to enable any person skilled

in the art to which it pertains, or with which it is most nearly connected, to make and use the

same” as set forth in 35 U.S.C. § 112 ¶ 1.

          24.    The foregoing terms shall carry the same definitions whether they appear

capitalized or in lower case.

                                         INSTRUCTIONS

          The following instructions apply to these Requests for Production and should be

considered as a part of each such INTERROGATORY.

          1.     If in responding to these Interrogatories you claim any ambiguity in either an

Interrogatory or a definition or instruction applicable thereto, identify in your response the

language you consider ambiguous and state the interpretation you are using in responding.


                                                  5
        2.      If you object to any of these Interrogatories on any grounds that it is protected

from disclosure by the attorney-client privilege, work-product doctrine, or any other privilege,

you shall identify (i) the author(s), speaker, addressee(s), any indicated or blind copyee(s), or

third parties; (ii) the date; (iii) the subject matter(s) of the information; (iv) the nature of the

privilege or immunity asserted; and (v) any additional facts on which you would base your claim

of privilege or immunity.

        3.      No part of an Interrogatory may be left unanswered merely because you assert an

objection to another part of that Interrogatory.

        4.      If Plaintiffs contend that Plaintiffs cannot answer any of these Interrogatories

completely, Plaintiffs shall answer to the extent possible, specifying the reasons for Plaintiffs’

inability to answer the remainder of the Interrogatory, and stating what information, knowledge,

or belief Plaintiffs have concerning any unanswered portion.

        5.      If Plaintiffs elect to avail themselves of the procedure for answering

Interrogatories authorized by Federal Rule of Civil Procedure 33(d), Plaintiffs shall specify the

Bates numbers of the documents from which the answer may be derived or ascertained.

        6.      Pursuant to Federal Rule of Civil Procedure 26(e), this set of Interrogatories is a

continuing one and requires further and supplemental responses by any recipient of this set of

Interrogatories as and whenever such person acquires additional information after the time of the

initial responses hereunder. Plaintiffs are under a similar duty to correct any incorrect response

that they later learns is incorrect.




                                                    6
                                      INTERROGATORIES

INTERROGATORY NO. 1:

        For each claim of the Asserted Patents, describe in detail on an element-by-element basis,

all facts relating to its conception and reduction to practice, including identifying each purported

inventor, the date of conception, the date of reduction to practice of its subject matter, all acts

you contend represent diligence occurring between the dates of conception and reduction to

practice, each person involved in such conception, diligence and/or reduction to practice and

each such person’s specific contributions thereto, where the invention was first conceived and/or

reduced to practice, when, where, and to whom the invention was first disclosed, and identifying

each person, including third parties, who worked on any portion (no matter how trivial) of the

subject matter, including any portion of the alleged invention(s) described and claimed in the

Asserted Patents, describing in detail each person’s role and the dates and places each such

person assisted, supervised, or was otherwise so involved, and identifying all documents relating

to these facts.

INTERROGATORY NO. 2:

        State whether Plaintiff contends there are secondary considerations that should be

considered by the Court in connection with its determination pursuant to 35 U.S.C. § 103 of the

validity of each asserted claim of the Asserted Patents, and if the answer is anything other than

an unqualified no for any claim, identify for that claim each such secondary consideration and

describe in detail Plaintiffs’ contentions as to why each such secondary consideration

demonstrates obviousness or nonobviousness and all facts in support thereof, including any

documents in support of such facts, testimony from past cases in support of such facts, and any

persons with knowledge of such facts.




                                                  7
                                           POTTER ANDERSON & CORROON LLP
OF COUNSEL:
                                           By:   /s/ Alan R. Silverstein
Kevin P.B. Johnson                               Bindu A. Palapura (#5370)
QUINN EMANUEL URQUHART & SULLIVAN, LLP           Alan R. Silverstein (#5066)
555 Twin Dolphin Drive, 5th Floor                Jennifer Penberthyth Buckley (#6264)
Redwood Shores, CA 94065                         Hercules Plaza, 6 Floor
Tel: (650) 801-5000                              1313 N. Market Street
                                                 Wilmington, DE 19801
David Bilsker                                    Tel: (302) 984-6000
Felipe Corredor                                  bpalapura@potteranderson.com
Andrew E. Naravage                               asilverstein@potteranderson.com
QUINN EMANUEL URQUHART & SULLIVAN, LLP           jbuckley@potteranderson.com
50 California Street, 22nd Floor
San Francisco, CA 94111                Attorneys for Defendant Bio-Rad Laboratories,
Tel: (415) 875-6600                    Inc.

Anne S. Toker
QUINN EMANUEL URQUHART & SULLIVAN, LLP
51 Madison Avenue, 22nd Floor
New York, New York 10010
Tel: (212) 849-7000

Dated: May 24, 2019
6224559 / 45671




                                         12
                                 CERTIFICATE OF SERVICE

        I, Alan R. Silverstein, hereby certify that on May 24, 2019, true and correct copies of the

within document were served on the following counsel of record at the addresses and in the

manner indicated:

VIA ELECTRONIC MAIL

John W. Shaw                                        Jennifer Sklenar
David M. Fry                                        Ryan N. Nishimoto
Nathan R. Hoeschen                                  ARNOLD & PORTER KAYE SCHOLER th   LLP
SHAW KELLER LLP                                     777 South Figueroa Street, 44 Floor
I.M. Pei Building                                   Los Angeles, CA 90017-5844
1105 North Market Street, 12th Floor                jennifer.sklenar@arnoldporter.com
Wilmington, DE 19801                                ryan.nishimoto@arnoldporter.com
jshaw@shawkeller.com
dfry@shawkeller.com
nhoeschan@shawkeller.com

Matthew M. Wolf                                     Jeffrey A. Miller
Bridgette Boyd                                      ARNOLD & PORTER KAYE SCHOLER LLP
Anne Pearlman                                       3000 El Camino Real
ARNOLD & PORTER KAYE SCHOLER LLP                    Palo Alto, CA 94306-3807
601 Massachusetts Avenue, NW                        jeffrey.miller@arnoldporter.com
Washington DC, 20001-3743
matthew.wolf@arnoldporter.com
bridgette.boyd@arnoldporter.com
anne.pearlman@arnoldporter.com


                                                   /s/ Alan R. Silverstein
                                                       Alan R. Silverstein
6077685/45671
EXHIBIT 3
                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF DELAWARE

 GE HEALTHCARE BIO-SCIENCES AB,                  )
 and GLOBAL LIFE SCIENCES                         )
 SOLUTIONS USA, LLC,                              )
                                                  )
                  Plaintiffs,                     )
                                                  )
    v.                                            ) C.A. No. 18-1899-CFC
                                                  )
 BIO-RAD LABORATORIES, INC.,                      ) CONSOLIDATED
                                                  )
                  Defendant.                      )


          PLAINTIFFS’ FIRST SUPPLEMENTAL RESPONSES TO DEFENDANT
         BIO-RAD LABORATORIES, INC.’S FIRST SET OF INTERROGATORIES

         Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiffs GE

HEALTHCARE BIO-SCIENCES AB and Global Life Sciences Solutions USA LLC

(collectively “Plaintiffs”) hereby provide the following supplemental responses to the First Set of

Interrogatories served by BIO-RAD LABORATORIES, INC. (“Bio-Rad”):

                                  PRELIMINARY STATEMENT

         Plaintiffs’ investigation, discovery and analysis are ongoing, and Plaintiffs’ response to

each of these interrogatories is based on information and documents presently available to

Plaintiffs after reasonable inquiry. Plaintiffs reserve the right to supplement or amend these

responses in the event further information and/or documents are disclosed or discovered. In

addition, Plaintiffs’ responses are given without prejudice to its rights to introduce as evidence at

trial any subsequently discovered or unintentionally omitted information and/or documents.

         Specific objections to each of these interrogatories are made on an individual basis in the

responses below. In addition to these specific objections, Plaintiffs make certain continuing

objections (“General Objections”) to the interrogatories. These General Objections are hereby


                                                  1
incorporated by reference into the responses made to each separate interrogatory. For particular

emphasis, Plaintiffs have, from time to time, expressly included one or more of the General

Objections in certain of its responses below. Plaintiffs’ response to each individual interrogatory

is submitted without prejudice to, and without in any respect waiving, any General Objections

not expressly set forth in that specific response. Accordingly, the inclusion of any specific

objection in a response to an interrogatory below is neither intended as, nor shall in any way be

deemed to be, a waiver of any General Objections or of any other specific objection made herein

or that may be asserted at a later date. In addition, the failure to include at this time any

continuing or specific objection to an interrogatory is neither intended as, nor shall in any way be

deemed to be, a waiver of Plaintiffs’ right to assert that or any other objection at a later date.

       No incidental or implied admissions are intended by the responses herein. Plaintiffs’

response and/or objections to a particular interrogatory shall not be taken as an admission that

Plaintiffs accept or admits the existence of any “fact” set forth in or assumed by that

interrogatory.

                                     GENERAL OBJECTIONS

       Plaintiffs make the following General Objections to Bio-Rad’s interrogatories, including

without limitation the instructions and definitions set forth therein, whether or not separately set

forth in each response to each individual interrogatory.

       1.        Plaintiffs object to the interrogatories to the extent they seek information

protected by any relevant privilege or legal protection, including, without limitation, the

attorney-client privilege, the work product doctrine, the joint defense privilege, the settlement or

settlement negotiation privilege, settlement materials, or trial preparation materials. Any

statement herein to the effect that Plaintiffs will provide information in response to an
interrogatory is limited to information that does not fall within the scope of any relevant

privilege.

       2.      Plaintiffs object to the interrogatories to the extent they are overly broad, unduly

burdensome or seek information that is irrelevant to any claim or defense and not reasonably

calculated to lead to the discovery of admissible evidence.

       3.      Plaintiffs object to the interrogatories to the extent that they are vague,

ambiguous, and use unlimited, undefined, subjective or open-ended terms or phrases.

       4.      Plaintiffs object to the interrogatories to the extent that the purported benefit of

the discovery sought by the interrogatories is outweighed by the burden and expense of

responding to the interrogatories pursuant to Rules 26(b)(1) and 26(b)(2) of the Federal Rules of

Civil Procedure.

       5.      Plaintiffs object to the interrogatories to the extent they attempt to impose burdens

on plaintiffs inconsistent with, or in excess of, the requirements of the Federal Rules of Civil

Procedure, the Local Rules of this Court, and/or EU or Swedish privacy, data protection or any

other applicable laws.

       6.      Plaintiffs object to the interrogatories to the extent they seek confidential,

proprietary, trade secret, private or financial information that is protected from disclosure by any

applicable trade secret or privacy statute or law. Plaintiffs will provide such information only

pursuant to the terms of a suitable protective order agreed to by the parties and entered by the

court in this action, a suitable protective order entered by the court in response to a party’s

motion for protective order filed in the action, and/or with the consent of any third party that may

claim confidentiality rights with respect to information responsive to the interrogatories.
         7.    Plaintiffs object to each interrogatory to the extent it seeks information regarding

testifying experts, relating to the opinions of testifying experts, or subject to expert discovery in

advance of any deadline set by the Court for experts in its April 20, 2020 Revised Scheduling

Order.

         8.    Plaintiffs object to the interrogatories to the extent they seek information

unknown to Plaintiffs, that refers to persons, entities or events not known to plaintiffs, or that

relates to documents not within Plaintiffs’ possession, custody, or control. Such a requirement

would exceed Plaintiffs’ obligations under the Federal Rules and would subject Plaintiffs to

unreasonable and undue oppression, burden and expense. In responding to these interrogatories,

Plaintiffs shall respond only on behalf of itself and shall not undertake the burden and expense of

attempting to provide information presently unknown to Plaintiffs or relating to documents

outside Plaintiffs’ possession, custody, or control.

         9.    Plaintiffs object to the interrogatories to the extent they fail to specify a relevant

time period, or to the extent any part of any specified time period is irrelevant to any claim or

defense at issue in this case, on the grounds that the interrogatories are overly broad, unduly

burdensome, and seek information that is neither relevant nor reasonably calculated to lead to the

discovery of admissible evidence.

         10.   Plaintiffs object to the terms “GE”, “You”, “Your” and “Plaintiffs” as defined in

the interrogatories, as overly broad and unduly burdensome, to the extent the interrogatories

purport to seek information relating to persons or entities that are separate and distinct from GE

and over whom GE exercises no control. In responding to these interrogatories, GE shall

interpret the terms “GE,” “You,” and “Plaintiffs” to refer only to Plaintiffs GE Healthcare Bio-

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       11.     Plaintiffs object to the definitions of the terms “Patents-in-Suit” and “Asserted

Patents” as overly broad and unduly burdensome to the extent that the interrogatories purport to

seek information relating to patents other than those specifically listed in the Complaint: U.S.

Patent Nos. 9,709,589, 9,709,590, 9,709,591, and 9,671,420.

       12.     Plaintiffs object to the definition of the term “Related Patents” as vague,

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extent it seeks to include within its scope “any and all applications claiming priority to Patent

Application No. 0950431-7 filed in Sweden on June 9, 2009 and/or to International Application

No. PCT/SE2010/050624 filed on June 4, 2010....”

       13.     Plaintiffs object to the term “Documents” as vague, ambiguous, overly broad, and

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       14.     Plaintiffs object to the term “Prior art” as vague, ambiguous, overly broad, and

unduly burdensome to the extent it seeks to include within its scope “all systems, products,

publications, articles, communications, or other documents describing or explaining [various

topics] in existence prior to June 9, 2009.”

       15.     Plaintiffs object to Bio-Rad’s instructions as overly broad and unduly

burdensome.

       16.     Each and all of these General Objections shall be deemed incorporated by

reference into each and every objection made herein to a specific interrogatory.

       17.     Discovery and Plaintiffs’ investigation in connection with this case are

continuing. As a result, Plaintiffs’ objections and responses are limited to information obtained

and reviewed to date and are given without prejudice to Plaintiffs’ right to amend or supplement

its objections and responses after considering information or reviewed through further discovery.
Plaintiffs reserve its rights to supplement its responses consistent with the applicable Federal

Rules of Civil Procedure and the District of Delaware’s Local Rules.

                                      INTERROGATORIES

INTERROGATORY NO. 1:

        For each claim of the Asserted Patents, describe in detail on an element-by-element
basis, all facts relating to its conception and reduction to practice, including identifying each
purported inventor, the date of conception, the date of reduction to practice of its subject
matter, all acts you contend represent diligence occurring between the dates of conception
and reduction to practice, each person involved in such conception, diligence and/or
reduction to practice and each such person’s specific contributions thereto, where the
invention was first conceived and/or reduced to practice, when, where, and to whom the
invention was first disclosed, and identifying each person, including third parties, who
worked on any portion (no matter how trivial) of the subject matter, including any portion of
the alleged invention(s) described and claimed in the Asserted Patents, describing in detail
each person’s role and the dates and places each such person assisted, supervised, or was
otherwise so involved, and identifying all documents relating to these facts.

RESPONSE TO INTERROGATORY NO. 1:

       GE incorporates its General Objections. GE objects to the interrogatory to the extent that

it seeks information or documents covered by the attorney-client privilege, the work product

doctrine, or any other applicable privilege or immunity. GE also objects to this interrogatory on

the grounds that it is overly broad, unduly burdensome, and not proportional to the needs of this

case to the extent that it seeks “all facts relating to its conception and reduction to practice” of

each claim of the Asserted Patents. GE further objects to this interrogatory as compound and

containing multiple subparts asserted in a single interrogatory.

       Subject to its general and specific objections, GE responds as follows: GE will identify,

pursuant to Federal Rule of Civil Procedure 33(d), documents for which the response to this

interrogatory can be derived.

FIRST SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 1:
        Plaintiffs hereby incorporate their objections and responses to Bio-Rad’s Interrogatories

in their entirety.

        Subject to its general and specific objections, Plaintiffs supplement their response as

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following documents for which the response to this interrogatory can be derived:

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        GEHC_050670 – GEHC_050678; GEHC_050679 – GEHC_050684; GEHC_050685 –
        GEHC_050692; GEHC_050697 – GEHC_050704; GEHC_050705 – GEHC_050711;
        GEHC_051363 – GEHC_051369; GEHC_051498 – GEHC_051498; GEHC_051499 –
        GEHC_051499; GEHC_063219 – GEHC_063221; GEHC_063222 – GEHC_063223;
        GEHC_063224 – GEHC_063225; GEHC_063230 – GEHC_063231; GEHC_063232 –
        GEHC_063233; GEHC_063234 – GEHC_063235; GEHC_063236 – GEHC_063238;
        GEHC_063239 – GEHC_063243; GEHC_063244 – GEHC_063247; GEHC_063248 –
        GEHC_063251; GEHC_063252 – GEHC_063258; GEHC_063396 – GEHC_063403;
        GEHC_066650 – GEHC_066650; GEHC_066651 – GEHC_066651; GEHC_066653 –
        GEHC_066653; GEHC_072888 – GEHC_072896; GEHC_072897 – GEHC_072908;
        GEHC_180199 – GEHC_180205; GEHC_185779 – GEHC_185779; GEHC_185780 –
        GEHC_185780; GEHC_185781 – GEHC_185781; GEHC_188868 – GEHC_188875;
        GEHC_138865 – GEHC_138866; GEHC_138867 – GEHC_138868; GEHC_138869 –
        GEHC_138870; GEHC_138871 – GEHC_138872; GEHC_138873 – GEHC_138874;
        GEHC_138875 – GEHC_138876; GEHC_138877 – GEHC_138879; GEHC_138880 –
        GEHC_138881; GEHC_138952 – GEHC_138953; GEHC_144475 – GEHC_144478;
        GEHC_144479 – GEHC_144481; GEHC_144482 – GEHC_144485; GEHC_144486 –
        GEHC_144490; GEHC_144491 – GEHC_144496; GEHC_144497 – GEHC_144502;
        GEHC_144503 – GEHC_144507; GEHC_144508 – GEHC_144514; GEHC_144515 –
        GEHC_144519; GEHC_144520 – GEHC_144527; GEHC_156415 – GEHC_156417;
        GEHCDEL495087 – GEHCDEL495088; GEHCDEL492820 – GEHCDEL492826;
        GEHCDEL472253 – GEHCDEL472256; GEHCDEL042936 – GEHCDEL042938;
        GEHCDEL496160 – GEHCDEL496162; GEHCDEL042930 – GEHCDEL042933;
        GEHCDEL496154 – GEHCDEL496157; GEHCDEL042926 – GEHCDEL042928;
       GEHCDEL042921 – GEHCDEL042924; GEHCDEL496145 – GEHCDEL496148;
       GEHCDEL042918 – GEHCDEL042919; GEHCDEL496142 – GEHCDEL496143;
       GEHCDEL042908 – GEHCDEL042911; GEHCDEL042912 – GEHCDEL042916;
       GEHCDEL496132 – GEHCDEL496135; GEHCDEL496136 – GEHCDEL496140;
       GEHCDEL042898 – GEHCDEL042902; GEHCDEL496122 – GEHCDEL496126;
       GEHCDEL042891 – GEHCDEL042896; GEHCDEL496110 – GEHCDEL496114;
       GEHCDEL042884 – GEHCDEL042889; GEHCDEL496103 – GEHCDEL496108;
       GEHCDEL190799 – GEHCDEL190802; GEHCDEL042877 – GEHCDEL042882;
       GEHCDEL496096 – GEHCDEL496101; GEHCDEL042872 – GEHCDEL042875;
       GEHCDEL490361 – GEHCDEL490362; GEHCDEL190790 – GEHCDEL190797;
       GEHCDEL190784 – GEHCDEL190787; GEHCDEL042864 – GEHCDEL042870;
       GEHCDEL140755 – GEHCDEL140764; GEHCDEL042853 – GEHCDEL042855;
       GEHCDEL042849 – GEHCDEL042851; GEHCDEL042839 – GEHCDEL042846;
       GEHCDEL190776 – GEHCDEL190782; GEHCDEL496032 – GEHCDEL496038;
       GEHCDEL474275 – GEHCDEL474318

       Plaintiffs’ investigation is ongoing, and Plaintiffs reserve the right to amend and/or

supplement this response as additional facts become available through discovery.


INTERROGATORY NO. 2

        State whether Plaintiff contends there are secondary considerations that should be
considered by the Court in connection with its determination pursuant to 35 U.S.C. § 103 of
the validity of each asserted claim of the Asserted Patents, and if the answer is anything other
than an unqualified no for any claim, identify for that claim each such secondary
consideration and describe in detail Plaintiffs’ contentions as to why each such secondary
consideration demonstrates obviousness or nonobviousness and all facts in support thereof,
including any documents in support of such facts, testimony from past cases in support of
such facts, and any persons with knowledge of such facts.

RESPONSE TO INTERROGATORY NO. 2:

       GE incorporates its General Objections. GE objects to the interrogatory to the extent that

it seeks information or documents covered by the attorney-client privilege, the work product

doctrine, or any other applicable privilege or immunity. GE also objects to this interrogatory on

the grounds that it is overly broad and unduly burdensome to the extent that it seeks Plaintiffs to

“describe in detail Plaintiffs’ contentions as to why each such secondary consideration

demonstrates obviousness or nonobviousness and all facts in support thereof.” GE further

objects to this interrogatory as compound and containing multiple subparts asserted in a single
       GEHCDEL129324 – GEHCDEL129367; GEHCDEL129368 – GEHCDEL129374;
       GEHCDEL129375; GEHCDEL129376 – GEHCDEL129391; GEHCDEL129392 –
       GEHCDEL129401; GEHCDEL129424; GEHCDEL129425; GEHCDEL129426;
       GEHCDEL129427; GEHCDEL129428; GEHCDEL129429; GEHCDEL129463 –
       GEHCDEL129468; GEHCDEL129586; GEHCDEL129587; GEHCDEL129588;
       GEHCDEL129590; GEHCDEL129594 - GEHCDEL129602; GEHCDEL12980;
       GEHCDEL437004 - GEHCDEL437006; GEHC_0069390 – GEHC_0069399;
       GEHC_034403 – GEHC_034469; GEHC_070492 – GEHC_070500; GEHC_070585-
       GEHC_070591; GEHC_070606; GEHC_007444 – GEHC_007587; GEHC_007588 -
       GEHC_00802; GEHC_101283 – GEHC_101287; GEHC_158954 – GEHC_158970

       Plaintiffs’ investigation is ongoing, and Plaintiffs reserve the right to amend and/or

supplement this response as additional facts become available through discovery.

 OF COUNSEL:                                    /s/ Amy DeWitt
 Ryan M. Nishimoto                              John W. Shaw (No. 3362)
 ARNOLD & PORTER KAYE                           Nathan R. Hoeschen (No. 6232)
  SCHOLER LLP                 th                SHAW KELLER LLP
 777 South Figueroa Street, 44 Floor            I.M. Pei Building           th
 Los Angeles, CA 90017                          1105 North Market Street, 12 Floor
 (213) 243-4000                                 Wilmington, DE 19801
                                                (302) 298-0700
 Jennifer Sklenar*                              jshaw@shawkeller.com
 Mathew M. Wolf                                 nhoeschen@shawkeller.com
 Amy DeWitt                                     Attorneys for Plaintiffs
 ARNOLD & PORTER KAYE
  SCHOLER LLP
 601 Massachusetts Avenue, NW
 Washington, DC 20001
 (202) 942-5462

 Jeffrey A. Miller
 Joseph B. Palmieri
 ARNOLD & PORTER KAYE
  SCHOLER LLP
 3000 El Camino Real
 Building 5, Suite 500
 Palo Alto, CA 94306
 (650) 319-4500

 Dated: June 8, 2020

 *Admitted in NY and CA only; practice
 limited to matters before federal courts and
 federal agencies
                                CERTIFICATE OF SERVICE

       I, Nathan R. Hoeschen, hereby certify that on June 8, 2020, this document was served on

the persons listed below in the manner indicated:

        BY EMAIL
        David E. Moore                              David Bilsker
        Bindu A. Palapura                           Andrew E. Naravage
        Stephanie E. O’Byrne                        Felipe Corredor
        Alan R. Silverstein                         QUINN EMANUEL URQUHART
        Tracey E. Timlin                             & SULLIVAN, LLP
        POTTER ANDERSON & CORROON LLP               50 California Street, 22nd Floor
        Hercules Plaza, 6th Floor                   San Francisco, CA 94111
        1313 N. Market Street                       (415) 875-6600
        Wilmington, DE 19801                        davidbilsker@quinnemanuel.com
        (302) 984-6000                              andrewnaravage@quinnemanueal.com
        dmoore@potteranderson.com                   felipecorredor@quinnemanuel.com
        bpalapura@potteranderson.com
        sobyrne@potteranderson.com
        asilverstein@potteranderson.com
        ttimlin@potteranderson.com

        Anne S. Toker                               Kevin P.B. Johnson
        QUINN EMANUEL URQUHART                      QUINN EMANUEL URQUHART
         & SULLIVAN, LLP                             & SULLIVAN, LLP
        51 Madison Ave, 22nd Floor                  555 Twin Dolphin Dr., 5th Floor
        New York, NY 10010                          Redwood Shores, CA 94065
        (212) 849-7000                              (650) 801-5015
        annetoker@quinnemanuel.com                  kevinjohnson@quinnemanuel.com


                                                    /s/ Nathan R. Hoeschen
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                                                    Nathan R. Hoeschen (No. 6232)
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                                                    I.M. Pei Building           th
                                                    1105 North Market Street, 12 Floor
                                                    Wilmington, DE 19801
                                                    (302) 298-0700
                                                    jshaw@shawkeller.com
                                                    nhoeschen@shawkeller.com
                                                    Attorneys for Plaintiffs
EXHIBIT 4
                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE

 CYTIVA SWEDEN AB and GLOBAL                        )
 LIFE SCIENCES SOLUTIONS USA LLC,                   )
                                                    )
                                                    )
                                                    ) C.A. No. 18-1899-CFC
                   Plaintiffs,                      ) Consolidated
                                                    )
     v.                                             )
                                                    )
 BIO-RAD LABORATORIES, INC.,                        )
                                                    )
                   Defendant.                       )



          PLAINTIFFS’ SECOND SUPPLEMENTAL RESPONSES TO DEFENDANT
                          BIO-RAD LABORATORIES, INC.’S
                         FIRST SET OF INTERROGATORIES

          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiffs CYTIVA

SWEDEN AB and Global Life Sciences Solutions USA LLC (collectively “Plaintiffs”) hereby

provide the following supplemental responses to the First Set of Interrogatories served by BIO-

RAD LABORATORIES, INC. (“Bio-Rad”):

                                  PRELIMINARY STATEMENT

          Plaintiffs’ investigation, discovery and analysis are ongoing, and Plaintiffs’ response to

each of these interrogatories is based on information and documents presently available to

Plaintiffs after reasonable inquiry. Plaintiffs reserve the right to supplement or amend these

responses in the event further information and/or documents are disclosed or discovered. In

addition, Plaintiffs’ responses are given without prejudice to its rights to introduce as evidence at

trial any subsequently discovered or unintentionally omitted information and/or documents.

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US 168082769v1
        Specific objections to each of these interrogatories are made on an individual basis in the

responses below. In addition to these specific objections, Plaintiffs make certain continuing

objections (“General Objections”) to the interrogatories. These General Objections are hereby

incorporated by reference into the responses made to each separate interrogatory. For particular

emphasis, Plaintiffs have, from time to time, expressly included one or more of the General

Objections in certain of its responses below. Plaintiffs’ response to each individual interrogatory

is submitted without prejudice to, and without in any respect waiving, any General Objections

not expressly set forth in that specific response. Accordingly, the inclusion of any specific

objection in a response to an interrogatory below is neither intended as, nor shall in any way be

deemed to be, a waiver of any General Objections or of any other specific objection made herein

or that may be asserted at a later date. In addition, the failure to include at this time any

continuing or specific objection to an interrogatory is neither intended as, nor shall in any way be

deemed to be, a waiver of Plaintiffs’ right to assert that or any other objection at a later date.

        No incidental or implied admissions are intended by the responses herein. Plaintiffs’

response and/or objections to a particular interrogatory shall not be taken as an admission that

Plaintiffs accept or admits the existence of any “fact” set forth in or assumed by that

interrogatory.

                                    GENERAL OBJECTIONS

        Plaintiffs make the following General Objections to Bio-Rad’s interrogatories, including

without limitation the instructions and definitions set forth therein, whether or not separately set

forth in each response to each individual interrogatory.




                                                   2
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        1.       Plaintiffs object to the interrogatories to the extent they seek information

protected by any relevant privilege or legal protection, including, without limitation, the

attorney-client privilege, the work product doctrine, the joint defense privilege, the settlement or

settlement negotiation privilege, settlement materials, or trial preparation materials. Any

statement herein to the effect that Plaintiffs will provide information in response to an

interrogatory is limited to information that does not fall within the scope of any relevant

privilege.

        2.       Plaintiffs object to the interrogatories to the extent they are overly broad, unduly

burdensome or seek information that is irrelevant to any claim or defense and not reasonably

calculated to lead to the discovery of admissible evidence.

        3.       Plaintiffs object to the interrogatories to the extent that they are vague,

ambiguous, and use unlimited, undefined, subjective or open-ended terms or phrases.

        4.       Plaintiffs object to the interrogatories to the extent that the purported benefit of

the discovery sought by the interrogatories is outweighed by the burden and expense of

responding to the interrogatories pursuant to Rules 26(b)(1) and 26(b)(2) of the Federal Rules of

Civil Procedure.

        5.       Plaintiffs object to the interrogatories to the extent they attempt to impose burdens

on plaintiffs inconsistent with, or in excess of, the requirements of the Federal Rules of Civil

Procedure, the Local Rules of this Court, and/or EU or Swedish privacy, data protection or any

other applicable laws.

        6.       Plaintiffs object to the interrogatories to the extent they seek confidential,

proprietary, trade secret, private or financial information that is protected from disclosure by any


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applicable trade secret or privacy statute or law. Plaintiffs will provide such information only

pursuant to the terms of a suitable protective order agreed to by the parties and entered by the

court in this action, a suitable protective order entered by the court in response to a party’s

motion for protective order filed in the action, and/or with the consent of any third party that may

claim confidentiality rights with respect to information responsive to the interrogatories.

         7.      Plaintiffs object to each interrogatory to the extent it seeks information regarding

testifying experts, relating to the opinions of testifying experts, or subject to expert discovery in

advance of any deadline set by the Court for experts in its April 20, 2020 Revised Scheduling

Order.

         8.      Plaintiffs object to the interrogatories to the extent they seek information

unknown to Plaintiffs, that refers to persons, entities or events not known to plaintiffs, or that

relates to documents not within Plaintiffs’ possession, custody, or control. Such a requirement

would exceed Plaintiffs’ obligations under the Federal Rules and would subject Plaintiffs to

unreasonable and undue oppression, burden and expense. In responding to these interrogatories,

Plaintiffs shall respond only on behalf of itself and shall not undertake the burden and expense of

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                                                    4
US 168082769v1
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                                                   5
US 168082769v1
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basis, all facts relating to its conception and reduction to practice, including identifying each
purported inventor, the date of conception, the date of reduction to practice of its subject
matter, all acts you contend represent diligence occurring between the dates of conception
and reduction to practice, each person involved in such conception, diligence and/or
reduction to practice and each such person’s specific contributions thereto, where the
invention was first conceived and/or reduced to practice, when, where, and to whom the
invention was first disclosed, and identifying each person, including third parties, who
worked on any portion (no matter how trivial) of the subject matter, including any portion of
the alleged invention(s) described and claimed in the Asserted Patents, describing in detail
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                                                  6
US 168082769v1
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        GEHC_026814; GEHC_027017 – GEHC_027017; GEHC_029487 – GEHC_029488;
        GEHC_029489 – GEHC_029489; GEHC_029491 – GEHC_029491; GEHC_048484 –
        GEHC_048490; GEHC_048492 – GEHC_048498; GEHC_048544 – GEHC_048554;
        GEHC_050578 – GEHC_050582; GEHC_050583 – GEHC_050587; GEHC_050589 –
        GEHC_050594; GEHC_050600 – GEHC_050605; GEHC_050606 – GEHC_050615;
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        GEHC_050652; GEHC_050653 – GEHC_050663; GEHC_050664 – GEHC_050669;
        GEHC_050670 – GEHC_050678; GEHC_050679 – GEHC_050684; GEHC_050685 –
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        GEHC_063224 – GEHC_063225; GEHC_063230 – GEHC_063231; GEHC_063232 –
        GEHC_063233; GEHC_063234 – GEHC_063235; GEHC_063236 – GEHC_063238;

                                                  7
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        GEHC_063239 – GEHC_063243; GEHC_063244 – GEHC_063247; GEHC_063248 –
        GEHC_063251; GEHC_063252 – GEHC_063258; GEHC_063396 – GEHC_063403;
        GEHC_066650 – GEHC_066650; GEHC_066651 – GEHC_066651; GEHC_066653 –
        GEHC_066653; GEHC_072888 – GEHC_072896; GEHC_072897 – GEHC_072908;
        GEHC_180199 – GEHC_180205; GEHC_185779 – GEHC_185779; GEHC_185780 –
        GEHC_185780; GEHC_185781 – GEHC_185781; GEHC_188868 – GEHC_188875;
        GEHC_138865 – GEHC_138866; GEHC_138867 – GEHC_138868; GEHC_138869 –
        GEHC_138870; GEHC_138871 – GEHC_138872; GEHC_138873 – GEHC_138874;
        GEHC_138875 – GEHC_138876; GEHC_138877 – GEHC_138879; GEHC_138880 –
        GEHC_138881; GEHC_138952 – GEHC_138953; GEHC_144475 – GEHC_144478;
        GEHC_144479 – GEHC_144481; GEHC_144482 – GEHC_144485; GEHC_144486 –
        GEHC_144490; GEHC_144491 – GEHC_144496; GEHC_144497 – GEHC_144502;
        GEHC_144503 – GEHC_144507; GEHC_144508 – GEHC_144514; GEHC_144515 –
        GEHC_144519; GEHC_144520 – GEHC_144527; GEHC_156415 – GEHC_156417;
        GEHCDEL495087 – GEHCDEL495088; GEHCDEL492820 – GEHCDEL492826;
        GEHCDEL472253 – GEHCDEL472256; GEHCDEL042936 – GEHCDEL042938;
        GEHCDEL496160 – GEHCDEL496162; GEHCDEL042930 – GEHCDEL042933;
        GEHCDEL496154 – GEHCDEL496157; GEHCDEL042926 – GEHCDEL042928;
        GEHCDEL042921 – GEHCDEL042924; GEHCDEL496145 – GEHCDEL496148;
        GEHCDEL042918 – GEHCDEL042919; GEHCDEL496142 – GEHCDEL496143;
        GEHCDEL042908 – GEHCDEL042911; GEHCDEL042912 – GEHCDEL042916;
        GEHCDEL496132 – GEHCDEL496135; GEHCDEL496136 – GEHCDEL496140;
        GEHCDEL042898 – GEHCDEL042902; GEHCDEL496122 – GEHCDEL496126;
        GEHCDEL042891 – GEHCDEL042896; GEHCDEL496110 – GEHCDEL496114;
        GEHCDEL042884 – GEHCDEL042889; GEHCDEL496103 – GEHCDEL496108;
        GEHCDEL190799 – GEHCDEL190802; GEHCDEL042877 – GEHCDEL042882;
        GEHCDEL496096 – GEHCDEL496101; GEHCDEL042872 – GEHCDEL042875;
        GEHCDEL490361 – GEHCDEL490362; GEHCDEL190790 – GEHCDEL190797;
        GEHCDEL190784 – GEHCDEL190787; GEHCDEL042864 – GEHCDEL042870;
        GEHCDEL140755 – GEHCDEL140764; GEHCDEL042853 – GEHCDEL042855;
        GEHCDEL042849 – GEHCDEL042851; GEHCDEL042839 – GEHCDEL042846;
        GEHCDEL190776 – GEHCDEL190782; GEHCDEL496032 – GEHCDEL496038;
        GEHCDEL474275 – GEHCDEL474318

        Plaintiffs’ investigation is ongoing, and Plaintiffs reserve the right to amend and/or

supplement this response as additional facts become available through discovery.

SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 1:

        Plaintiffs hereby incorporate their objections and responses to Bio-Rad’s Interrogatories




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in their entirety.

        Subject to its general and specific objections, Plaintiffs supplement their response as

follows:

        Each Asserted Claim of the ’124, ’420, ’589, ’590, and ’591 Patents was conceived by

Johan Blomberg and Mats Lundquist no later than August 2006 and reduced to practice no later

than October 2006.

        The inventors and those working in conjunction with them were reasonably and

continuously diligent in reducing their inventions to practice.

        Pursuant to Federal Rule of Procedure 33(d), Plaintiffs identify the following additional

documents for which responsive information to this interrogatory can be derived:

        GEHC_047703 - GEHC_047731; GEHC_063106 - GEHC_063118; GEHC_069852 -
        GEHC_069881; GEHC_078582 - GEHC_078601; GEHC_078689 - GEHC_079737;
        GEHC_128523 - GEHC_128560; GEHC_137189 - GEHC_137192; GEHC_138846 -
        GEHC_138846; GEHC_138847 - GEHC_138847; GEHC_138848 - GEHC_138851;
        GEHC_138852 - GEHC_138853; GEHC_138854 - GEHC_138855; GEHC_138856 -
        GEHC_138857; GEHC_138865 - GEHC_138866; GEHC_138867 - GEHC_138868;
        GEHC_138869 - GEHC_138870; GEHC_138871 - GEHC_138872; GEHC_138873 -
        GEHC_138874; GEHC_138875 - GEHC_138876; GEHC_138877 - GEHC_138879;
        GEHC_138880 - GEHC_138881; GEHC_138882 - GEHC_138884; GEHC_138885 -
        GEHC_138887; GEHC_138888 - GEHC_138890; GEHC_138891 - GEHC_138892;
        GEHC_138893 - GEHC_138895; GEHC_138896 - GEHC_138899; GEHC_138900 -
        GEHC_138902; GEHC_138903 - GEHC_138905; GEHC_138906 - GEHC_138909;
        GEHC_138911 - GEHC_138914; GEHC_138915 - GEHC_138917; GEHC_138918 -
        GEHC_138921; GEHC_138922 - GEHC_138925; GEHC_138926 - GEHC_138929;
        GEHC_138930 - GEHC_138933; GEHC_138934 - GEHC_138937; GEHC_138938 -
        GEHC_138941; GEHC_138942 - GEHC_138943; GEHC_138944 - GEHC_138944;
        GEHC_138949 - GEHC_138951; GEHC_138949 - GEHC_138951.; GEHC_188470 -
        GEHC_188472; GEHCDEL000661 - GEHCDEL000665; GEHCDEL042568 -
        GEHCDEL042575; GEHCDEL042579 - GEHCDEL042586; GEHCDEL042589 -
        GEHCDEL042596; GEHCDEL042603 - GEHCDEL042609; GEHCDEL042611 -
        GEHCDEL042618; GEHCDEL042621 - GEHCDEL042628; GEHCDEL046238 -
        GEHCDEL046241; GEHCDEL127450 - GEHCDEL127455; GEHCDEL190566 -
        GEHCDEL190574; GEHCDEL190608 - GEHCDEL190615; GEHCDEL191586 -
        GEHCDEL191589; GEHCDEL436098 - GEHCDEL436101; GEHCDEL437634 -

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        GEHCDEL437672; GEHCDEL472219 - GEHCDEL472246; GEHCDEL476681 -
        GEHCDEL476684; GEHCDEL487848 - GEHCDEL487850; GEHCDEL487848 -
        GEHCDEL487850; GEHCDEL490345 - GEHCDEL490347; GEHCDEL492787 -
        GEHCDEL492790; GEHCDEL495500 - GEHCDEL495508; GEHCDEL495536 -
        GEHCDEL495543; GEHCDEL495547 - GEHCDEL495554; GEHCDEL495557 -
        GEHCDEL495564; GEHCDEL495578 - GEHCDEL495584; GEHCDEL495586 -
        GEHCDEL495593; GEHCDEL495609 - GEHCDEL495616; GEHCDEL495654 -
        GEHCDEL495662; GEHCDEL495775 - GEHCDEL495782; GEHCDEL497476 -
        GEHCDEL497479; GEHCDEL042558 - GEHCDEL042566

INTERROGATORY NO. 2

        State whether Plaintiff contends there are secondary considerations that should be
considered by the Court in connection with its determination pursuant to 35 U.S.C. § 103 of
the validity of each asserted claim of the Asserted Patents, and if the answer is anything other
than an unqualified no for any claim, identify for that claim each such secondary
consideration and describe in detail Plaintiffs’ contentions as to why each such secondary
consideration demonstrates obviousness or nonobviousness and all facts in support thereof,
including any documents in support of such facts, testimony from past cases in support of
such facts, and any persons with knowledge of such facts.

RESPONSE TO INTERROGATORY NO. 2:

        GE incorporates its General Objections. GE objects to the interrogatory to the extent that

it seeks information or documents covered by the attorney-client privilege, the work product

doctrine, or any other applicable privilege or immunity. GE also objects to this interrogatory on

the grounds that it is overly broad and unduly burdensome to the extent that it seeks Plaintiffs to

“describe in detail Plaintiffs’ contentions as to why each such secondary consideration

demonstrates obviousness or nonobviousness and all facts in support thereof.” GE further

objects to this interrogatory as compound and containing multiple subparts asserted in a single

interrogatory. GE further objects to the extent this interrogatory seeks legal conclusions or

prematurely seeks expert opinion. GE further objects to this interrogatory to the extent it is

attempting to shift the burden of proof on invalidity to GE. GE further objects to this

interrogatory as premature given the Court’s Scheduling Order.

                                                10
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July 24, 2020                               __/s/ Ryan M. Nishimoto ______________
                                            John W. Shaw (No. 3362)
                                            Nathan R. Hoeschen (No. 6232)
                                            SHAW KELLER LLP
                                            I.M. Pei Building
                                            1105 North Market Street, 12th Floor
                                            Wilmington, DE 19801
                                            (302) 298-0700
                                            jshaw@shawkeller.com
                                            nhoeschen@shawkeller.com
                                            Attorneys for Plaintiffs

                                            OF COUNSEL:
                                            Jeffrey A. Miller
                                            Joseph B. Palmieri
                                            ARNOLD & PORTER KAYE SCHOLER LLP
                                            3000 El Camino Real
                                            Building 5, Suite 500
                                            Palo Alto, CA 94306
                                            (650) 319-4500

                                            Matthew M. Wolf
                                            Jennifer Sklenar*
                                            Bridgette Boyd
                                            Anne W. Pearlman
                                            ARNOLD & PORTER KAYE SCHOLER LLP
                                            601 Massachusetts Avenue, NW
                                            Washington D.C. 20001
                                            (202) 942-5462

                                            Ryan M. Nishimoto
                                            ARNOLD & PORTER KAYE SCHOLER LLP
                                            777 South Figueroa Street, 44th Floor
                                            Los Angeles, CA 90017
                                            (213) 243-4000

                                            Michael J. Sebba
                                            ARNOLD & PORTER KAYE SCHOLER LLP
                                            250 West 55th Street |
                                            New York, New York 10019
                                            (212) 836-8000

*Admitted in NY and CA only; practice limited to matters before federal courts and federal
agencies

                                              25
US 168082769v1
                                CERTIFICATE OF SERVICE

       I, Michael J. Sebba, hereby certify that on July 24, 2020, this document was served on

the persons listed below in the manner indicated:

        BY EMAIL
        David E. Moore                              David Bilsker
        Bindu A. Palapura                           Andrew E. Naravage
        Stephanie E. O’Byrne                        Felipe Corredor
        Alan R. Silverstein                         QUINN EMANUEL URQUHART
        Tracey E. Timlin                             & SULLIVAN, LLP
        POTTER ANDERSON & CORROON LLP               50 California Street, 22nd Floor
        Hercules Plaza, 6th Floor                   San Francisco, CA 94111
        1313 N. Market Street                       (415) 875-6600
        Wilmington, DE 19801                        davidbilsker@quinnemanuel.com
        (302) 984-6000                              andrewnaravage@quinnemanueal.com
        dmoore@potteranderson.com                   felipecorredor@quinnemanuel.com
        bpalapura@potteranderson.com
        sobyrne@potteranderson.com
        asilverstein@potteranderson.com
        ttimlin@potteranderson.com

        Anne S. Toker                               Kevin P.B. Johnson
        QUINN EMANUEL URQUHART                      QUINN EMANUEL URQUHART
         & SULLIVAN, LLP                             & SULLIVAN, LLP
        51 Madison Ave, 22nd Floor                  555 Twin Dolphin Dr., 5th Floor
        New York, NY 10010                          Redwood Shores, CA 94065
        (212) 849-7000                              (650) 801-5015
        annetoker@quinnemanuel.com                  kevinjohnson@quinnemanuel.com


                                                    /s/ Michael J. Sebba
                                                    John W. Shaw (No. 3362)
                                                    Nathan R. Hoeschen (No. 6232)
                                                    SHAW KELLER LLP
                                                    I.M. Pei Building
                                                    1105 North Market Street, 12th Floor
                                                    Wilmington, DE 19801
                                                    (302) 298-0700
                                                    jshaw@shawkeller.com
                                                    nhoeschen@shawkeller.com
                                                    Attorneys for Plaintiffs
                                                           OF COUNSEL:
                                                           Jeffrey A. Miller
                                                           Joseph B. Palmieri
                                                           ARNOLD & PORTER KAYE SCHOLER LLP
                                                           3000 El Camino Real
                                                           Building 5, Suite 500
                                                           Palo Alto, CA 94306
                                                           (650) 319-4500

                                                           Matthew M. Wolf
                                                           Jennifer Sklenar*
                                                           Bridgette Boyd
                                                           ARNOLD & PORTER KAYE SCHOLER LLP
                                                           601 Massachusetts Avenue, NW
                                                           Washington D.C. 20001
                                                           (202) 942-5462

                                                           Ryan M. Nishimoto
                                                           ARNOLD & PORTER KAYE SCHOLER LLP
                                                           777 South Figueroa Street, 44th Floor
                                                           Los Angeles, CA 90017
                                                           (213) 243-4000

                                                           Michael J. Sebba
                                                           ARNOLD & PORTER KAYE SCHOLER LLP
                                                           250 West 55th Street |
                                                           New York, New York 10019
                                                           (212) 836-8000



*Admitted in NY and CA only; practice limited to matters before federal courts and federal agencies
EXHIBIT 5
From: Felipe Corredor
Sent: Thursday, August 6, 2020 5:18 PM
To: Nishimoto, Ryan M. <Ryan.Nishimoto@arnoldporter.com>
Cc: Silverstein, Alan R. <asilverstein@potteranderson.com>; bpalapura@potteranderson.com;
dmoore@potteranderson.com; Brge Team <BrgeTeam@quinnemanuel.com>; SKGEHealthcare
<SKGEHealthcare@shawkeller.com>; jshaw@shawkeller.com; GE - BioRad <GE-
BioRad@arnoldporter.com>
Subject: RE: Cytiva v. Bio-Rad, No. 18-1899 - discovery meet and confer

Ryan,

As to points (1) (Cytiva’s improper supplemental response to Interrogatory No. 1) and (4) (privilege
issues), the parties are at an impasse.

However, your email on point (4) makes very concerning, unfounded accusations. As we have stated
before, Mr. Bilsker had no indication that Exhibit 67 was privileged; it was among his preparation
materials in connection with the conception and reduction to practice 30(b)(6) topic Mr. Lundkvist was
designated on. You still have provided no explanation whatsoever for how Mr. Bilsker could have
known it was privileged while you, defending the deposition (with superior information on Plaintiffs’
documents than Mr. Bilsker) and with Mr. Sorby attending, sat through Mr. Bilsker’s long line of
questioning regarding Exhibit 67 and never thought to claw it back on privilege grounds. Given the lack
of any indication of privilege, either from the document or from yourself, Mr. Bilsker believed it was
either not privileged or, if it was, Plaintiffs intentionally produced it in order to rely on it.

Your unfounded accusations to the contrary are extremely concerning. As you know, making
accusations of ethical violations in order to gain an advantage in civil litigation, such as by trying to
rectify a mistake you made in failing to claw back a document Plaintiffs have now decided is privileged,
is itself contrary to your ethical obligations as an attorney. See Cal. Bar Rule of Prof. Conduct 3.10. Your
accusations are further not well taken given Mr. Sebba’s conduct at the Lee deposition; there, in the
face of a prompt and explicit assertion of privilege over an inadvertently produced slide by Bio-Rad, Mr.
Sebba went off the record in order to continue reviewing the privileged slide notwithstanding Bio-Rad’s
assertion of privilege over that slide and to make arguments against privilege based on the slide’s
content. Lee Rough Tr. 82:12-84:9. Plaintiffs should not be so quick to make unfounded accusations of
ethical violations given your own team’s failure to refrain from examining a slide over which Bio-Rad had
asserted privilege.

As to point (2) (documents submitted to regulators), we would like to understand better what Cytiva’s
position is, including whether documents exist at all. A meet and confer might be productive.

As to claim and prior art narrowing, a meet and confer would also be productive.

Please provide Plaintiffs’ availability for a meet and confer tomorrow.

Regards,
Felipe

Felipe Corredor
Associate,
Quinn Emanuel Urquhart & Sullivan, LLP


                                                     1
50 California Street, 22nd Floor
San Francisco, CA 94111
415-875-6448 Direct
415.875.6600 Main Office Number
415.875.6700 FAX
felipecorredor@quinnemanuel.com
www.quinnemanuel.com

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From: Nishimoto, Ryan M. [mailto:Ryan.Nishimoto@arnoldporter.com]
Sent: Wednesday, August 5, 2020 2:56 PM
To: Felipe Corredor <felipecorredor@quinnemanuel.com>
Cc: Silverstein, Alan R. <asilverstein@potteranderson.com>; bpalapura@potteranderson.com;
dmoore@potteranderson.com; Brge Team <BrgeTeam@quinnemanuel.com>; SKGEHealthcare
<SKGEHealthcare@shawkeller.com>; jshaw@shawkeller.com; GE - BioRad <GE-
BioRad@arnoldporter.com>
Subject: RE: Cytiva v. Bio-Rad, No. 18-1899 - discovery meet and confer

                                                            [EXTERNAL EMAIL]


Hi Felipe --

We agree that these issues discussed on July 30 need to be resolved expeditiously and may not drag on
indefinitely.

On (1), Bio-Rad has not articulated how it is unable to obtain the discovery it needs to address Cytiva’s
supplemental interrogatory response, and we again invite Bio-Rad to let us know what that might be.

On (2), Cytiva maintains its position that it has satisfied its discovery obligations by producing the
documents sought by Bio-Rad’s formal requests. Moreover, based on preliminary investigation, Cytiva
does not believe it has discoverable documents of the type sought.

On (4), we disagree with Bio-Rad’s position that Cytiva has waived privilege/work product as to Ex.
67. None of the testimony provided by Mr. Lundkvist divulged any privileged information relating to Ex.
67. In fact, Mr. Lundkvist had never seen the document before, didn’t know who prepared it, and did
not recognize the text contained in the document. As to counsel’s obligations, the minute Mr. Bilker
suspected that the document may have been privileged -- which appears to be suggested by his ensuing
comment that Mr. Lundkvist may have somehow “waived” a privilege -- Mr. Bilsker had an ethical
obligation under Cal. Bar Rule of Prof. Conduct 4.4 to refrain from examining it any more than was
necessary to determine it was privileged or work product. Bio-Rad’s counsel is well aware of this
obligation, as you have notified us of such inadvertent production in the past. See June 1, 2020 F.
Corredor email. The Luna Gaming case cited in your email is readily distinguishable as, for example,
none of Mr. Lundkvist’s testimony that included privileged information, nor was Ex. 67 used in
subsequent depositions or in court filings prior to it being clawed back.


                                                                       2
As to claim narrowing, please provide us with a proposal that includes a corresponding reduction in prior
art references.

Best regards,
Ryan


Ryan Nishimoto
Arnold & Porter
Office: +1 213.243.4158
Mobile: +1 323.336.5165
ryan.nishimoto@arnoldporter.com

From: Felipe Corredor <felipecorredor@quinnemanuel.com>
Sent: Wednesday, August 5, 2020 11:59 AM
To: Nishimoto, Ryan M. <Ryan.Nishimoto@arnoldporter.com>
Cc: Silverstein, Alan R. <asilverstein@potteranderson.com>;
zzz.External.bpalapura@potteranderson.com <bpalapura@potteranderson.com>;
zzz.External.dmoore@potteranderson.com <dmoore@potteranderson.com>; Brge Team
<BrgeTeam@quinnemanuel.com>; SKGEHealthcare <SKGEHealthcare@shawkeller.com>;
zzz.External.jshaw@shawkeller.com <jshaw@shawkeller.com>; GE - BioRad <GE-
BioRad@arnoldporter.com>
Subject: RE: Cytiva v. Bio-Rad, No. 18-1899 - discovery meet and confer

 External E-mail

Ryan,

We have not heard back on the below. Please respond to provide at least Plaintiffs’ position on the
documents submitted to regulatory authorities as testified to by Dr. Darby, as you said you would by
Tuesday, and Plaintiffs’ position on claim narrowing. We are available to meet and confer on the latter
tomorrow morning.

Regards,
Felipe

Felipe Corredor
Associate,
Quinn Emanuel Urquhart & Sullivan, LLP

50 California Street, 22nd Floor
San Francisco, CA 94111
415-875-6448 Direct
415.875.6600 Main Office Number
415.875.6700 FAX
felipecorredor@quinnemanuel.com
www.quinnemanuel.com

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have received this communication in error, please notify us immediately by e-mail, and delete the original message.




From: Felipe Corredor
Sent: Monday, August 3, 2020 1:19 PM
To: Nishimoto, Ryan M. <Ryan.Nishimoto@arnoldporter.com>
Cc: Silverstein, Alan R. <asilverstein@potteranderson.com>; bpalapura@potteranderson.com;
dmoore@potteranderson.com; Brge Team <BrgeTeam@quinnemanuel.com>; SKGEHealthcare
<SKGEHealthcare@shawkeller.com>; jshaw@shawkeller.com; GE - BioRad <GE-
BioRad@arnoldporter.com>
Subject: RE: Cytiva v. Bio-Rad, No. 18-1899 - discovery meet and confer

Ryan,

We disagree with the characterizations in your email.

On the initial matter, we agreed that the parties will not object to motions initiated after the fact
discovery period on the issues discussed on the July 30 meet and confer on the grounds of timeliness as
long as the parties’ continuing resolution efforts take place expeditiously this week, but we did not
agree to allow these issues to drag on indefinitely.

On the first issue, the prejudice to Bio-Rad is significant, as Plaintiffs’ complete change of their response
to Interrogatory No. 1 a week prior to the close of fact discovery, after depositions on conception and
reduction to practice were complete, including both percipient and fact witnesses, completely alters
Bio-Rad’s litigation strategy and gives Plaintiffs an unfair tactical advantage through its
sandbagging. Such prejudice cannot be ameliorated.

On the second issue, we look forward to receiving Plaintiffs’ position tomorrow.

On the third issue, we are in receipt of Plaintiffs’ supplemental responses and are still evaluating them.

On the fourth issue (privilege), the relevant portions of Mr. Lundkvist’s testimony include Tr. at 237:1-
242:16. This series of pages shows that the invention disclosure statement, Exhibit 67, was discussed for
numerous pages without any indication from you that it was privileged. This was even true in light of
subsequent questioning in the same area where you instructed the witness not to divulge
communications with attorneys. There was further discussion about waiver on the record, and yet you
never indicated or attempted to claw back Exhibit 67. In addition, as I noted during the meet and
confer, Plaintiffs and Bio-Rad do not have access to the same information about Exhibit 67—Plaintiffs
obviously have superior knowledge about its origins and import. Mr. Bilsker did not know or suspect
Exhibit 67 was privileged both because it was not marked as such and because parties can waive
privilege in an attempt to rely on some documents that support their position and you never objected to
the use of the document despite a significant amount of question about it. Mr. Lundkvist’s testimony,
your reticence, and Mr. Sorby’s knowledge and attendance at Mr. Lundkvist’s deposition, should have
prompted Plaintiffs to claw back the document at the deposition if their position was that it was a
privileged document. See, e.g., Luna Gaming–San Diego, LLC v. Dorsey & Whitney, LLP, 2010 WL
275083, at *5 (S.D .Cal. Jan. 13, 2010). Moreover, leaving aside the issue of waiver resulting from Exhibit
67, patent application materials that were not communicated between an attorney and client are not
even subject to the attorney-client privilege.

                                                                       4
Finally, upon further review of the Sorby transcript, Bio-Rad will forego a motion to compel answers to
questions he was instructed not to answer on privilege grounds.

In addition, I note that Bio-Rad also raised, but you have omitted from your email, the issue of patent
claim narrowing. Please promptly provide Plaintiffs’ position on claim narrowing, including timing of
such narrowing sufficiently in advance of the opening expert report deadline. To the extent Plaintiffs
are not prepared to expeditiously agree to claim narrowing, we request a meet and confer on this issue,
as Bio-Rad may have no choice but to seek relief from the Court.

Regards,
Felipe

Felipe Corredor
Associate,
Quinn Emanuel Urquhart & Sullivan, LLP

50 California Street, 22nd Floor
San Francisco, CA 94111
415-875-6448 Direct
415.875.6600 Main Office Number
415.875.6700 FAX
felipecorredor@quinnemanuel.com
www.quinnemanuel.com

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have received this communication in error, please notify us immediately by e-mail, and delete the original message.




From: Nishimoto, Ryan M. [mailto:Ryan.Nishimoto@arnoldporter.com]
Sent: Thursday, July 30, 2020 6:54 PM
To: Felipe Corredor <felipecorredor@quinnemanuel.com>
Cc: Silverstein, Alan R. <asilverstein@potteranderson.com>; bpalapura@potteranderson.com;
dmoore@potteranderson.com; Brge Team <BrgeTeam@quinnemanuel.com>; SKGEHealthcare
<SKGEHealthcare@shawkeller.com>; jshaw@shawkeller.com; GE - BioRad <GE-
BioRad@arnoldporter.com>
Subject: RE: Cytiva v. Bio-Rad, No. 18-1899 - discovery meet and confer

                                                            [EXTERNAL EMAIL]


Hi Felipe --

We write to memorialize the parties’ meet-and-confer efforts this afternoon with respect to the issues
raised in your July 28 email below.

As an initial matter, we agreed that the parties’ respective issues should be subject to further efforts
toward resolution, and that the parties will not object to motions initiated after the fact discovery
period on the subjects we discussed today on the grounds of timeliness (including the issues raised by
Cytiva regarding source code review and our July 29 letter).


                                                                       5
On the first issue (Cytiva’s supplemental response to interrogatory no. 1), Bio-Rad had not considered
whether there was any way to ameliorate its alleged prejudice. You agreed that Bio-Rad would provide
this, to the extent it has an answer.

On the second issue (documents testified to by Dr. Darby and requested in Bio-Rad’s letters of July 7 and
July 14), you confirmed that Bio-Rad’s July 28 request was not intended to expand the scope of the
request as set forth in its July 7 and 14 letters. We agreed to consider the issue and provide a further
response tomorrow (Friday) 7/31.

On the third issue (supplemental responses to interrogatory nos. 3, 4, and 9), we confirmed that Cytiva
would serve these supplemental responses tomorrow (Friday) 7/31.

On the fourth issue (privilege clawback):
     Bio-Rad agreed to send cites to Mr. Lundkvist’s testimony that allegedly waived privilege and to
        Mr. Sorby’s deposition transcript as to the specific objections/instructions with which Bio-Rad
        takes issue.
     We also discussed whether Bio-Rad’s counsel knew or suspected that the document Mr. Bilsker
        used during the deposition of Mr. Lundkvist (Ex. 67) was privileged during the deposition. We
        understood your response to be that Bio-Rad’s counsel did not know this document was
        privileged, and apparently was not aware of this fact until the clawback notice issued. Please let
        us know if we misunderstood your statements.
     Finally, Bio-Rad agreed to send authority supporting the idea of waiver where neither counsel
        nor the witness at deposition knew document was privileged.

Best regards,
Ryan


Ryan Nishimoto
Arnold & Porter
Office: +1 213.243.4158
Mobile: +1 323.336.5165
ryan.nishimoto@arnoldporter.com

From: Felipe Corredor <felipecorredor@quinnemanuel.com>
Sent: Tuesday, July 28, 2020 1:58 PM
To: Boyd, Bridgette <Bridgette.Boyd@arnoldporter.com>; Silverstein, Alan R.
<asilverstein@potteranderson.com>; zzz.External.bpalapura@potteranderson.com
<bpalapura@potteranderson.com>; zzz.External.dmoore@potteranderson.com
<dmoore@potteranderson.com>; Brge Team <BrgeTeam@quinnemanuel.com>
Cc: Miller, Jeffrey <Jeffrey.Miller@arnoldporter.com>; SKGEHealthcare
<SKGEHealthcare@shawkeller.com>; zzz.External.jshaw@shawkeller.com <jshaw@shawkeller.com>; GE
- BioRad <GE-BioRad@arnoldporter.com>
Subject: Cytiva v. Bio-Rad, No. 18-1899 - discovery meet and confer

External E-mail


                                                    6
Counsel,

We write to request a meet and confer on the below issues on Wednesday morning (PT) or Thursday
after 3pm PT. Please let us know what time works for you.

First, Plaintiffs’ second supplemental response to Interrogatory No. 1, served on Friday July 24, is
entirely untimely and prejudicial. Bio-Rad believes it is not appropriate for Plaintiffs to change their
conception/reduction to practice timeline and cited documents after all depositions of Plaintiffs’
witnesses have been completed, nearly a month after the deposition of named inventor Mr. Lundkvist
(Plaintiffs’ 30(b)(6) witness on the relevant Topic No. 34), and just a week before the close of fact
discovery, under the guise of a “supplementation.” Moreover, all of the documents cited in the
“supplementation” have been in Plaintiffs’ possession since long before Mr. Lundkvist’s deposition.

Second, given Plaintiffs’ failure to produce the documents discussing Lab AKTA products that were
submitted to regulatory authorities in connection with the Danaher acquisition, as testified to by Dr.
Darby and requested in Bio-Rad’s letters of July 7 and July 14, Bio-Rad intends to move to compel
production of such documents.

Third, given Plaintiffs’ failure to supplement their responses to Interrogatory Nos. 3 and 4 despite
agreeing to do so weeks ago, Bio-Rad intends to move to compel those supplemental
responses. Relatedly, now that the depositions of Bio-Rad’s 30(b)(6) designees on damages-related
topics have concluded, Bio-Rad also expects Plaintiffs to timely supplement their response to
Interrogatory No. 9.

Finally, regarding the motion to compel production of purportedly privileged documents on which the
parties have previously met and conferred, Bio-Rad intends to also include improper privilege objections
and instructions not to answer made at the Sorby deposition.

Regards,
Felipe

Felipe Corredor
Associate,
Quinn Emanuel Urquhart & Sullivan, LLP

50 California Street, 22nd Floor
San Francisco, CA 94111
415-875-6448 Direct
415.875.6600 Main Office Number
415.875.6700 FAX
felipecorredor@quinnemanuel.com
www.quinnemanuel.com

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                                                                       7
___________________________________________
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                                                                       8
EXHIBIT 6
EXHIBIT 7
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                    )
GE HEALTHCARE BIO-SCIENCES AB,                      )
GE HEALTHCARE BIO-SCIENCES                          )
CORPORATION, and GENERAL                            )
ELECTRIC COMPANY,                                   )
                                                    )
          Plaintiffs,                               )    Civil Action No. 1:14-cv-07080-LTS-SN
                                                    )
                         v.                         )
                                                    )
BIO-RAD LABORATORIES, INC.,                         )
                                                    )
          Defendant and Counterclaim Plaintiff.     )
                                                    )


                        DEFENDANT BIO-RAD LABORATORIES, INC.’S
                        THIRD SET OF REQUESTS FOR PRODUCTION

          Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Defendant Bio-Rad

Laboratories, Inc. (“Bio-Rad”) requests that Plaintiffs GE Healthcare Bio-Sciences AB, GE

Healthcare Bio-Sciences Corporation, and General Electric Company produce for inspection and

copying the documents and things set forth below at the offices of Quinn Emanuel Urquhart &

Sullivan, LLP, 51 Madison Avenue, 22nd Floor, New York, NY 10010 within thirty (30) days of

service.

                                           DEFINITIONS

          As used herein, the terms listed below shall be defined as follows. Insofar as a term is

not explicitly defined, the meaning to be used is the commonly accepted definition of the term.

Notwithstanding any definition set forth below, each word, term, or phrase used in these

Requests for Production is intended to have the broadest meaning permitted under the Federal

Rules of Civil Procedure. In these Requests for Production, the following terms are to be given

their ascribed definitions:

02030-00002/7300838.1                              1
          1.        In accordance with Local Civil Rule 26.3, the terms “Plaintiff” and “Defendant”

as well as a party’s full or abbreviated name or a pronoun referring to a party mean the party and,

where applicable, its officers, directors, employees, partners, corporate parent, subsidiaries or

affiliates. This definition is not intended to impose a discovery obligation on any person who is

not a party to the litigation.

          2.        “Plaintiffs,” “GE,” “You,” and “Your” shall refer to Plaintiffs GE Healthcare Bio-

Sciences AB, GE Healthcare Bio-Sciences Corporation, and General Electric Company,

individually and collectively, including, without limitation, all corporate locations of each, and

all predecessors, predecessors-in-interest, subsidiaries, parents, and affiliates, and all past or

present directors, officers, agents, representatives, employees, consultants, attorneys, entities

acting in joint venture, licensing agreements, or partnership relationships with respondent and

others acting on behalf of respondent.

          3.        “Bio-Rad” shall refer to Defendant Bio-Rad Laboratories, Inc. and all its

predecessors or successors, parents, divisions, subsidiaries, and affiliates thereof, and all officers,

agents, employees, counsel and other persons acting on its behalf.

          4.        “’718 patent” shall mean U.S. Patent No. 8,821,718 and all parents, progeny,

continuations, applications, divisional applications, reexaminations, or reissues thereof and all

foreign counterpart applications and patents which claim the same subject matter.

          5.        The terms “referring to,” “relating to,” “showing,” or “regarding” shall mean

containing, describing, discussing, embodying, commenting upon, identifying, incorporating,

summarizing, constituting, comprising, or otherwise pertinent to the matter or any aspect thereof.

          6.        “Modular preparative protein purification systems” refers to all systems featuring

a “modular panel design allowing for interchangeable placement of the fluid handing units and



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which separated the fluidics section from the non-fluidics section,” as defined in paragraph 11 of

the Declaration of Nigel Darby in Support of Plaintiffs’ Motion for a Preliminary Injunction.

(Dkt. 11.)

          7.        In accordance with Local Civil Rule 26.3, the term “document” is defined to be

synonymous in meaning and equal in scope to the usage of the term “documents or electronically

stored information” in Federal Rule of Civil Procedure 34(a)(1)(A). A draft or non-identical

copy is a separate document within the meaning of this term.

          8.        In accordance with Local Civil Rule 26.3, the term “identify” with respect to a

document means to give, to the extent known, the (i) type of document; (ii) general subject

matter; (iii) date of the document; and (iv) author(s), addressee(s) and recipient(s). In the

alternative, the responding party may produce the documents, together with identifying

information sufficient to satisfy Federal Rule of Civil Procedure 33(d).

          9.        In accordance with Local Civil Rule 26.3, “person” is defined as any natural

person or any legal entity, including, without limitation, any business or governmental entity or

association.

          10.       In accordance with Local Civil Rule 26.3, the term “identify” with respect to a

person means to give, to the extent known, the person’s full name, present or last known address,

and when referring to a natural person, additionally, the present or last known place of

employment.

          11.       In accordance with Local Civil Rule 26.3, the terms “all,” “any,” and “each” shall

each be construed as encompassing any and all.




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          12.       In accordance with Local Civil Rule 26.3, the connectives “and” and “or” shall be

construed either disjunctively or conjunctively as necessary to bring within the scope of the

discovery request all responses that might otherwise be construed to be outside of its scope.

          13.       In accordance with Local Civil Rule 26.3, the use of the singular form of any

word includes the plural and vice versa.

          14.       The use of a verb in any tense shall be construed as the use of the verb in all other

tenses.

                                             INSTRUCTIONS

          The following instructions apply to these Requests for Production and should be

considered as a part of each such Request for Production.

          1.        Each document is to be produced along with all non-identical drafts thereof in

their entirety, without abbreviation or redaction.

          2.        All documents shall be produced in the order that they are kept in the usual course

of business, and shall be produced in their original folders, binders, covers or containers, or

photocopies thereof.

          3.        In the event that any document called for by these requests or subsequent requests

is to be withheld on the basis of the attorney-client privilege, work-product doctrine, or any other

privilege or immunity, that document is to be identified by stating (i) the author(s), addressee(s),

and any indicated or blind copyee(s); (ii) the document’s date, number of pages and attachments

or appendices; (iii) the subject matter(s) of the document; (iv) the nature of the privilege or

immunity asserted; and (v) any additional facts on which You would base Your claim of

privilege or immunity.

          4.        These Requests for Production shall be deemed continuing so as to require further

and supplemental production in accordance with the Federal Rules of Civil Procedure.
02030-00002/7300838.1                                 4
          5.        State, for each request, whether or not there exist any documents within the scope

of the request and whether any such documents are in Your possession, custody, or control.

          6.        Any response made by reference to documents shall identify by document

production number each responsive document.

          7.        All documents that respond, in whole or in part, to any portion of any request

shall be produced in their entirety, including all attachments and enclosures.

          8.        Color copies of documents are to be produced where color is necessary to

interpret or understand the contents.

          9.        The source(s) or derivation of each document produced shall be specifically

identified.

          10.       In the event that any document called for by these requests or subsequent requests

has been destroyed or discarded, that document is to be identified by stating: (i) the author(s),

addressee(s), and any indicated or blind copyee(s); (ii) the document’s date, number of pages and

attachments or appendices; (iii) the document’s subject matter; (iv) the date of destruction or

discard, manner of destruction or discard, and reason for destruction or discard; (v) the persons

who were authorized to carry out such destruction or discard; and (vi) whether any copies of the

document presently exist and, if so, the name of the custodian of each copy.

          11.       Electronic records and computerized information must be produced in their native

electronic format, together with a description of the system from which they were derived

sufficient to permit rendering the records and information intelligible.

          12.       If your response to a particular request for production is a statement that you lack

the ability to comply with that request, you must specify whether the inability to comply is

because the particular item or category of information never existed, has been destroyed, has



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been lost, misplaced, or stolen, or has never been, or is no longer, in your possession, custody, or

control, in which case the name and address of any person or entity known or believed by you to

have possession, custody, or control of that information or category of information must be

identified.

          13.       Unless otherwise indicated in a particular request, the request is not date or time

limited.

          14.       Where an identified document is in a language other than English, state whether

an English translation of such document exists. If a document is in a language other than English

and an English translation exists, identify and provide both documents.




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                                REQUESTS FOR PRODUCTION



REQUEST FOR PRODUCTION NO. 55:

          Documents sufficient to show whether a third party supplied any of the modules used in

the ÄKTA pure or avant systems.



REQUEST FOR PRODUCTION NO. 56:

          Documents sufficient to show whether the modules used in the ÄKTA pure or avant

systems were specifically designed for use in those systems.



REQUEST FOR PRODUCTION NO. 57:

          Documents sufficient to show whether the modules used in the ÄKTA pure or avant

systems existed prior to development of those systems.



REQUEST FOR PRODUCTION NO. 58:

          Documents sufficient to identify individuals who participated in negotiations with third-

party suppliers of components for the ÄKTA pure or avant systems on behalf of Plaintiffs.



REQUEST FOR PRODUCTION NO. 59:

          Documents sufficient to show whether any third-party modules were considered for use

in the ÄKTA pure or avant systems.




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REQUEST FOR PRODUCTION NO. 60:

          Documents sufficient to show evaluations and feasibility studies regarding the use of

third-party modules in the ÄKTA pure or avant systems.



REQUEST FOR PRODUCTION NO. 61:

          Documents sufficient to identify individuals responsible for Plaintiffs’ evaluations and

feasibility studies regarding the use of third-party modules in the ÄKTA pure or avant systems.



REQUEST FOR PRODUCTION NO. 62:

          Documents sufficient to identify individuals responsible for designing modules for use in

the ÄKTA pure or avant systems.



REQUEST FOR PRODUCTION NO. 63:

          Documents sufficient to show whether individuals substantively involved in the design

and development of the ÄKTA pure or avant systems, including the ‘718 patent’s inventors,

knew about the Gilson 402 Syringe Pump or the Tecan Cavro XLP 6000 Modular Syringe Pump.


REQUEST FOR PRODUCTION NO. 64:

          Documents sufficient to show GE’s market share in the market for modular preparative

protein purification systems.



REQUEST FOR PRODUCTION NO. 65:

          Documents sufficient to show GE’s market share in the market for liquid chromatography

systems operating in the medium pressure range of 35-50 psi.



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REQUEST FOR PRODUCTION NO. 66:

          Documents sufficient to show any efforts by GE to increase or maintain its market share

in the market for modular preparative protein purification systems.



REQUEST FOR PRODUCTION NO. 67:

          Documents sufficient to show efforts by GE to increase or maintain its market share in

the market for liquid chromatography systems operating in the medium pressure range of 35-50

psi.



REQUEST FOR PRODUCTION NO. 68:

          Documents sufficient to identify any companies that GE believes participate in the

market for modular preparative market.



REQUEST FOR PRODUCTION NO. 69:

          Documents sufficient to identify any companies that GE believes participate in the

market for liquid chromatography systems operating in the medium pressure range of 35-50 psi.



REQUEST FOR PRODUCTION NO. 70:

          Documents sufficient to show any studies or evaluations of GE’s share in the market for

modular preparative protein purification systems.



REQUEST FOR PRODUCTION NO. 71:

          Documents sufficient to show any studies or evaluations of GE’s share in the market for

liquid chromatography systems operating in the medium pressure range of 35-50 psi.


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Dated: October 30, 2015                         Respectfully submitted,



                                                By:       /s/ Felipe Corredor
                                                      Anne S. Toker
                                                      Sky Adams
                                                      QUINN EMANUEL URQUHART &
                                                      SULLIVAN, LLP
                                                      51 Madison Avenue, 22nd Floor
                                                      New York, New York 10010
                                                      T: (212) 849-7000
                                                      F: (212) 849-7100
                                                      annetoker@quinnemanuel.com
                                                      skyadams@quinnemanuel.com

                                                      Kevin P.B. Johnson
                                                      QUINN EMANUEL URQUHART &
                                                      SULLIVAN, LLP
                                                      555 Twin Dolphin Drive, 5th Floor
                                                      Redwood Shores, CA 94065
                                                      T: (650)-801-5000
                                                      T: (650)-801-5100
                                                      kevinjohnson@quinnemanuel.com

                                                      Attorneys for Defendant and Counterclaim-
                                                      Plaintiff Bio-Rad Laboratories, Inc.

Of counsel:
David Bilsker
Felipe Corredor
QUINN EMANUEL URQUHART &
SULLIVAN, LLP
50 California Street, 22nd Floor
San Francisco, CA 94111
Telephone: 415-875-6600
Facsimile: 415-875-6700
davidbilsker@quinnemanuel.com
felipecorredor@quinnemanuel.com

Attorney for Defendant and Counterclaim-
Plaintiff Bio-Rad Laboratories, Inc.




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                                   CERTIFICATE OF SERVICE

          I certify that on October 30, 2015, I caused a true and correct copy of the foregoing to be

served via e-mail on the following counsel for Plaintiffs GE Healthcare Bio-Science AB, GE

Healthcare Bio-Sciences Corporation, and General Electric Company.

          Matthew T. Salzmann
          ARNOLD & PORTER LLP
          399 Park Avenue
          New York, NY 10022-4690
          Telephone: +1 212 715 1000
          Facsimile: +1 212 715 1399
          matthew.salzmann@aporter.com

          Matthew Wolf
          ARNOLD & PORTER LLP
          555 Twelfth Street, N.W.
          Washington, DC 20004
          Telephone: +1 202 942 5000
          Facsimile: +1 202 942 599
          Matthew.Wolf@aporter.com

          Jennifer Sklenar
          Ryan M. Nishimoto
          Amie L. Medley
          Kristen L. Johns
          ARNOLD & PORTER LLP
          777 South Figueroa Street, 44th Floor
          Los Angeles, California 90017-5844
          Telephone: + 1 213.243.4000
          Facsimile: +1 213.243.4199
          Jennifer.Sklenar@aporter.com
          Ryan.Nishimoto@aporter.com
          Kristen.Johns@aporter.com




                                                               /s/ Felipe Corredor
                                                               Felipe Corredor




02030-00002/7300838.1                             18
EXHIBIT 8
8/20/2020                       FTC Imposes Conditions on Danaher Corporation’s Acquisition of GE Biopharma | Federal Trade Commission




    FTC Imposes Conditions on Danaher
    Corporation’s Acquisition of GE Biopharma
    March 19, 2020


    Merger likely to reduce competition in highly concentrated
    markets that supply biopharmaceutical companies with key inputs
      FOR RELEASE

    TAGS: biologics         international cooperation        Health Care       Prescription Drugs        Manufacturing   Pharmaceuticals

     Bureau of Competition          Competition       Merger

    Danaher Corporation has agreed to divest assets to settle Federal Trade Commission charges that its proposed $21.4
    billion acquisition of General Electric’s biopharmaceutical business, GE Biopharma, would violate federal antitrust law.

    The FTC alleges that the proposed acquisition would substantially lessen competition in the United States (and potentially
    the rest of the world) in highly concentrated product markets for ten products that companies use to manufacture
    biopharmaceutical drugs.

    Danaher will divest to Sartorius AG all rights and assets to research, develop, manufacture, market, and sell these
    products. Based in Germany, Sartorius provides bioprocessing equipment and other products to the life sciences industry.

    The products to be divested include:

    Microcarrier Beads. Used in cell culture bioprocessing, microcarrier beads provide a surface to grow cells. Danaher and
    GE are the two leading global suppliers, and each other’s closest competitors. The acquisition as proposed would reduce
    the number of major suppliers from three to two.

    Conventional Low-Pressure Liquid Chromatography Columns. Conventional LPLC columns are containers that hold
    chromatography resins used as the adsorbent during the stationary phase. There are only three main suppliers, including
    Danaher and GE, both of which hold a significant share of the market.

    Conventional Low-Pressure Liquid Chromatography Skids. These systems of pumps, valves, sensors, tubing,
    electronic components, software, and flow paths control the flow of liquid in the columns. GE is the leading supplier; GE
    and Danaher compete directly in this market; and there are few other significant suppliers.

    Single-Use Low Pressure Liquid Chromatography Skids. These skids control the flow of liquid in the same way as
    conventional liquid chromatography skids, except certain components are disposable. GE is the dominant supplier, and
    GE and Danaher are two of only three significant suppliers.

    Chromatography Resins. These chemically-treated resins constitute the stationary phase in chromatography. Each
    resin type differs in its chemical characteristics and uses, and each type constitutes a distinct antitrust market. GE and
    Danaher have competitively significant overlaps in three resin markets: affinity resins, ion exchange resins, and mixed

https://www.ftc.gov/news-events/press-releases/2020/03/ftc-imposes-conditions-danaher-corporations-acquisition-ge                          1/3
8/20/2020                       FTC Imposes Conditions on Danaher Corporation’s Acquisition of GE Biopharma | Federal Trade Commission

    mode resins. GE is the dominant supplier of chromatography resins, and Danaher is a significant, independent
    competitor.

    Low-Pressure Liquid Chromatography Continuous Chromatography Systems. LPLC continuous chromatography
    systems allow for the simultaneous processing of multiple columns in LPLC. These systems consist of pumps, valves,
    sensors, tubing, electronic components, software, and flow paths composed of either multi-use or single-use components.
    Danaher and GE are two of five suppliers.

    Single-Use Tangential Flow Filtration Systems. These systems control the filtration process, which removes unwanted
    molecules during the cell growth by running liquids through porous membranes. Combined, Danaher and GE would have
    a significant portion of the market.

    Label-Free Molecular Characterization Instruments. Researchers use these instruments for a number of
    bioprocessing applications, including drug discovery. Danaher and GE are significant competitors in this market. The
    remainder of the market is highly fragmented.

    Further details about the consent agreement—which requires Danaher to supply the divested products to Sartorius for a
    limited time while Sartorius establishes its own manufacturing capability—are set forth in the analysis to aid public
    comment for this matter.

    Commission staff and the staff of antitrust agencies in Brazil, China, the European Union, and Israel worked cooperatively
    to analyze the proposed transaction and potential remedies.

    The Commission vote to issue the complaint and accept the proposed consent order for public comment was 3-2.
    Commissioners Rohit Chopra and Rebecca Kelly Slaughter voted no. The FTC will publish the consent agreement
    package in the Federal Register shortly. Instructions for filing comments appear in the published notice. Comments must
    be received 30 days after publication in the Federal Register. Once processed, comments will be posted on
    Regulations.gov.

    NOTE: The Commission issues an administrative complaint when it has “reason to believe” that the law has been or is
    being violated, and it appears to the Commission that a proceeding is in the public interest. When the Commission issues
    a consent order on a final basis, it carries the force of law with respect to future actions. Each violation of such an order
    may result in a civil penalty of up to $43,280.

    The Federal Trade Commission works to promote competition, and protect and educate consumers. You can learn more
    about how competition benefits consumers or file an antitrust complaint. Like the FTC on Facebook, follow us on Twitter,
    read our blogs, and subscribe to press releases for the latest FTC news and resources.



    Contact Information
    MEDIA CONTACT:
    Betsy Lordan
    Office of Public Affairs
    202-326-3707

    STAFF CONTACT:
    Lisa DeMarchi Sleigh
    Bureau of Competition
    202-326-2535




https://www.ftc.gov/news-events/press-releases/2020/03/ftc-imposes-conditions-danaher-corporations-acquisition-ge                        2/3
8/20/2020                       FTC Imposes Conditions on Danaher Corporation’s Acquisition of GE Biopharma | Federal Trade Commission




https://www.ftc.gov/news-events/press-releases/2020/03/ftc-imposes-conditions-danaher-corporations-acquisition-ge                        3/3
EXHIBIT 9
                         HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY

       quinn emanuel            trial lawyers | san francisco
       50 California Street, 22nd Floor, San Francisco, California 94111-4788 | TEL (415) 875-6600 | FAX (415) 875-6700




                                                                                                      WRITER'S DIRECT DIAL NO.
                                                                                                                (415) 875-6448

                                                                                                   WRITER'S INTERNET ADDRESS
                                                                                           felipecorredor@quinnemanuel.com


July 7, 2020

Via E-Mail
Jennifer Sklenar
Arnold & Porter
601 Massachusetts Ave, NW
Washington, DC 20001-3743

Re:       GE Healthcare Bio-Sciences AB et al. v. Bio-Rad Laboratories, Inc., Case No. 1:18-cv-
          01899-CFC

Counsel:

We write to follow up regarding document requests made at the deposition of Nigel Darby.

First, we are entitled to documents Dr. Darby relied upon in preparing his declaration, which are
also responsive to, among others, Bio-Rad’s RFP Nos. 37 (“All documents supporting Your
claims for damages, including but not limited to, all documents supporting Your claim for
damages based on a reasonable royalty, lost profits, actual damages, or statutory damages.”) and
38 (“All documents regarding any sale Plaintiffs allegedly lost because of the NGC system.”) in
the consolidated case. As Dr. Darby testified, these documents include documentary evidence
regarding Shawn Anderson (Darby Rough Tr. at 117:9-19), document(s) supporting his $100
million estimate for the NextAKTA development expenses (id. at 119:2-9), and document(s)
supporting his statements about lost sales (id. at 120:11-24). We have been unable to locate
these documents in Plaintiffs’ production. Please immediately produce these documents or
identify by bates number where in the production they may be found.

Second, we are also entitled to documents related to the market for modular chromatography
products, including, without limitation, market share and competitor data, that were submitted to
government agencies as Dr. Darby testified to. See id. at 128:22-129:14, 134:11-135:5. These
documents are responsive to, among others, Bio-Rad’s RFP Nos. 64 (“Documents sufficient to
show GE’s market share in the market for modular preparative protein purification systems.”),
66 (“Documents sufficient to show any efforts by GE to increase or maintain its market share in
the market for modular preparative protein purification systems.”), and 68 (“Documents
sufficient to identify any companies that GE believes participate in the market for modular
preparative market.”). We have been unable to locate these documents in Plaintiffs’ production.



02030-00002/12227771.1
                         HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
Please immediately produce these documents or identify by bates number where in the
production they may be found.

Best regards,

/s/ Felipe Corredor
Felipe Corredor




02030-00002/12227771.1                        2
